                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS

CITY OF ROCKFORD and
ACUMENT GLOBAL
TECHNOLOGIES, INC.
on behalf of themselves and                 Civil Action No.: 3:17-cv-50107
all others similarly situated,

                             Plaintiffs,
                                            SECOND AMENDED CLASS
       v.                                   ACTION COMPLAINT

MALLINCKRODT ARD, INC.,                     JURY TRIAL DEMANDED
formally known as QUESTCOR
PHARMACEUTICALS, INC.;
MALLINCKRODT PLC; EXPRESS SCRIPTS
HOLDING COMPANY; EXPRESS SCRIPTS,
INC.; CURASCRIPT, INC., doing business as
CURASCRIPT, SD; ACCREDO HEALTH
GROUP, INC., and UNITED BIOSOURCE
CORPORATION
                        Defendants.
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                   SECOND AMENDED CLASS ACTION COMPLAINT

       The City of Rockford (“the City” or “Rockford”) and Acument Global Technologies, Inc.

(“Acument”) (collectively the “Plaintiffs”) on behalf of themselves and the Class described

below, allege as follows:

                                   NATURE OF THE CASE

       1.      Plaintiffs bring this action on their own behalf and on behalf of all other

government payors and private payors similarly situated, excepting those expressly excluded

from the Class, to challenge an unjust, unfair, and anti-competitive scheme by Defendants,

Mallinckrodt ARD Inc., formally known as Questcor Pharmaceuticals, Inc. (“Questcor”) and its

parent company, Mallinckrodt plc (collectively “Mallinckrodt”) as well as Mallinckrodt’s

exclusive agent for the delivery of its products, Express Scripts Holding Company and Express

Scripts, Inc., including their three (3) wholly-owned subsidiaries, CuraScript, Inc., doing

business as CuraScript, SD., Accredo Health Group, Inc., and United BioSource Corporation

(collectively referred to as "Express Scripts"). The scheme alleged herein sought to maintain and

enhance Mallinckrodt’s monopoly power in the U.S. market for adrenocorticotropic hormone

(ACTH) drugs in violation of the antitrust laws.

       2.      Mallinckrodt manufactures, markets, distributes and sells H.P. Acthar, NDC No.

63004871001 (“Acthar”). Acthar is the only therapeutic ACTH product sold in the United

States. Mallinckrodt is the sole provider in the U.S. of approved ACTH drugs. Thus,

Mallinckrodt is a monopolist.

       3.      Mallinckrodt acquired its Acthar monopoly in 2001 when Questcor purchased

Acthar from Aventis for $100,000. By 2014, when Mallinckrodt purchased Questcor, the value

of that Acthar monopoly was $5.9 billion—the price paid for the single-product company.



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        4.        This case does not seek to challenge the lawfulness of Mallinckrodt’s monopoly.

It seeks to challenge the lawfulness of Mallinckrodt’s exercise of its monopoly power by taking

actions to maintain and enhance that monopoly power in violation of the antitrust laws.

        5.        The issue is not whether Mallinckrodt possessed monopoly power for Acthar. It

is whether its actions in contracting with the agent of its leading customers, Express Scripts, and

in acquiring the only competitive product in the marketplace, Synacthen, constitute unlawful

efforts to retain, maintain and enhance Mallinckrodt’s monopoly power over Acthar in the

ACTH market.

        6.        Acthar is a “specialty pharmaceutical”. It is not sold in retail pharmacies, nor is it

distributed through wholesalers to retail pharmacies, as with many prescription drugs. Instead, it

is distributed only through “specialty pharmacy distributors”.

        7.        One of the largest specialty pharmacy distributors in America is ESI's CuraScript,

which ESI has owned since 2004. In 2007, Mallinckrodt decided to embark on a “new strategy”

and it changed its distribution of Acthar. Rather than continue to distribute Acthar to the existing

distribution network available for specialty drugs, Mallinckrodt decided to limit Acthar

distribution exclusively through ESI’s CuraScript. In effect, Mallinckrodt contracted with the

agent of its leading customers in order to create an exclusive arrangement whereby both

companies would share the financial rewards of the Acthar monopoly.

        8.        Immediately after signing the exclusive agreement, Mallinckrodt and Express

Scripts agreed to raise the price of Acthar from $1,980 to over $27,927.80 per vial. As a result,

Mallinckrodt was able to charge inflated prices for Acthar to Express Scripts’ clients, including

the Plaintiffs.

        9.        In 2015, Rockford spent $489,057.84 for just nine administrations of Acthar given



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to two infant patients at a gross cost per vial of $54,339.76. When Mallinckrodt acquired the

Acthar monopoly from Aventis, the cost of an individual vial was just $40.00. Just prior to

Mallinckrodt's exclusive agreement with Express Scripts, the cost of an individual Acthar vial

was $1,980. That means the total cost to Rockford would have been less than $15,000, rather

than nearly $490,000, in the absence of the exclusive agreement. As a result, Rockford and other

members of the Class paid more for Acthar than they otherwise would have paid in the absence

of Mallinckrodt's unlawful actions with Express Scripts to maintain and enhance its monopoly

power, and to conspire and agree with Express Scripts to defraud Rockford and the Class of

Acthar purchasers.

       10.     In a 13-month period between December 2015 and December 2016, Acument

spent $894,617.75 for just 13 administrations of Acthar given to the spouse of one of Acument’s

employees.

       11.     For this reason, Plaintiffs bring this case on behalf of themselves and a Class of

all similarly-situated purchasers of Acthar, to obtain declaratory and injunctive relief, and to

recover money damages. Rockford sues all Defendants for unjust enrichment, fraud, conspiracy

to defraud, federal antitrust and RICO violations, and violations of Illinois and other states’ laws.

Rockford also sues Express Scripts for breach of contract, promissory estoppel, declaratory

judgment, and breach of the duty of good faith and fair dealing implied by law. Acument sues

all Defendants for unjust enrichment, fraud, conspiracy to defraud, federal antitrust and RICO

violations, and violations of Tennessee and other states’ laws.

                                 JURISDICTION AND VENUE

       12.     Plaintiffs bring this action pursuant to sections 4 and 16 of the Clayton Act, 15

U.S.C. §§ 15(a) and 26, to recover treble damages, costs of suit, and reasonable attorneys’ fees



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for the Defendants’ violations of sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1 and 2.

This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337(a).

       13.     This Court also has subject matter jurisdiction over this action pursuant to the

Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d), because the Plaintiffs and members of

the Class are diverse from the Defendants and over two-thirds of the Class is situated outside of

Illinois. Due to the exorbitant prices charged by Defendants for Acthar to the Class, the

aggregate amount in controversy far exceeds $5,000,000.

       14.     Further, the Court has supplemental jurisdiction over the Plaintiffs’ state common

law and statutory claims pursuant to 28 U.S.C. § 1367 because these claims arise from the same

occurrence or transaction and are related to the Plaintiffs’ federal antitrust and RICO claims as to

form part of the same controversy.

       15.     This Court has personal jurisdiction over the parties because the Defendants

conduct substantial business in this State, have had systematic and continuous contacts with this

State, and have agents and representatives that can be found in this State.

       16.     The Court has jurisdiction over the Defendants because they have had sufficient

minimum contacts with and/or have purposefully availed themselves of the laws and markets of

the State of Illinois through, among other things, their conspiratorial communications between

themselves and with others (including telephonic and electronic communications) and their

distribution, marketing and sales of Acthar to the residents of Illinois.

       17.     Furthermore, by the Express Scripts, Inc. Pharmacy Benefit Management

Agreement (hereinafter the “ESI PBM Agreement”) at issue here, Express Scripts and Rockford

agreed that the ESI PBM Agreement “will be construed and governed in all respects according to

the laws in the State of Illinois, without regard to the rules of conflict of laws thereof”.



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       18.     Venue is proper in this District pursuant to section 12 of the Clayton Act, 15

U.S.C. § 22, because the Plaintiffs are situated in this District, and the Defendants transact

business in this District. Venue is also proper because a substantial part of the events giving rise

to the Plaintiffs’ claims occurred in this District. Defendants engaged in substantial conduct

relevant to the claims of the Plaintiffs and the Class, and caused harm to members of the Class in

this District. Venue is also proper pursuant to 28 U.S.C. §1391.

       19.     Acthar is sold in interstate commerce and the unlawful activities alleged in this

Second Amended Class Action Complaint have occurred in, and have had a substantial effect

upon, interstate commerce.

                                          THE PARTIES

                                          PLAINTIFFS

       20.     The City of Rockford, Illinois, (the “City” or “Rockford”), employs over a

thousand individuals in the service of its citizens. Two such employees have children who had a

serious medical condition, for which Acthar was indicated as a treatment option. These

employees received Acthar directly from Mallinckrodt’s authorized agent, Express Scripts. The

City, which pays the health care benefits of its employees, including specialty pharmacy drugs,

then paid for these administrations of Acthar. The sum total of these 9 prescriptions (14

administrations) was $489,057.84. The City paid $488,787.84 directly to Express Scripts, as

agent for Mallinckrodt. These monies were then directly transferred by Express Scripts to

Mallinckrodt, after Express Scripts deducted its agreed-upon share of the revenues.

       21.     Acument Global Technologies, Inc. (“Acument”) employs individuals in 12

locations in the United States and Mexico, including in Belvedere, Illinois and Spencer,

Tennessee. The spouse of one of Acument’s employees suffers from a condition for which



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Acthar was indicated as a treatment option. Between December 17, 2015 and December 6, 2016,

Acument paid a minimum of 80% of its employees’ health care benefits, including specialty

pharmacy drugs. Acument paid for the administrations of Acthar to its employee’s spouse. The

sum total of these administrations/prescriptions was $894,617.75 or $68,816.75 per prescription,

for which Acument paid the largest share. The employee’s co-pay was $2,600.00 in total.

                                         DEFENDANTS

       22.     Questcor Pharmaceuticals, Inc. (“Questcor”) was acquired by Mallinckrodt on

August 14, 2014 for $5.9 billion, after paying only $100,000 for Questcor’s lone product 13

years earlier. Following the acquisition, Questcor became a wholly-owned subsidiary of

Mallinckrodt and its name was changed to Mallinckrodt ARD Inc. Mallinckrodt ARD is a

biopharmaceutical company incorporated in California, with offices located at 675 McDonnell

Blvd., Hazelwood, Missouri 63042. Mallinckrodt ARD now has locations in Hampton, New

Jersey and Bedminster, New Jersey. For clarity, where necessary, the entity that existed prior to

the Mallinckrodt acquisition is herein referred to as “Questcor”.

       23.     At the time of the Mallinckrodt acquisition, Questcor’s only product sold in the

United States was Acthar. As of the date of this Second Amended Class Action Complaint,

Mallinckrodt continues to manufacture, distribute and sell Acthar directly to patients, exclusively

through Express Scripts, by a program known as the “Acthar Support and Access Program”

(“ASAP”) described below.

       24.     Defendant, Mallinckrodt plc (“Mallinckrodt plc”), is an Irish public limited

company, with its corporate headquarters in Staines-upon-Thames, United Kingdom. Its

principal executive offices are located at 3 Lotus Park, the Causeway, Staines-upon-Thames,

Surrey, TW18 3 AG.



                                                 6
       25.     Mallinckrodt plc, Mallinckrodt ARD and Questcor are collectively referred to as

“Mallinckrodt”.

       26.     Defendants Express Scripts, Inc. and Express Scripts Holding Company are

Delaware Corporations with their principle executive offices located at 1 Express Way, Saint

Louis, Missouri 63121. Collectively, Express Scripts, Inc. and Express Scripts Holding

Company are referred to as “ESI”.

       27.     Defendant CuraScript, Inc., d/b/a CuraScript, SD, f/k/a CuraScript Pharmacy,

Inc., (“CuraScript”) is a wholly-owned subsidiary of ESI. CuraScript was acquired by ESI in

January 2004, and its operation was expanded when ESI acquired Priority Healthcare

Corporation (“Priority”) in October 2005. The combined Priority and CuraScript became one of

the nation’s largest specialty pharmacy and distribution companies with more than $3 billion in

annual revenue.

       28.     CuraScript’s corporate headquarters are located at 255 Technology Park, Lake

Mary, Florida 32746. This is the same address patients are required to mail any revocation of the

broad authorization granted by patients to Mallinckrodt and ESI via the Acthar Start Form

(attached to the Complaint, Amended Complaint and this, Second Amended Class Action

Complaint as Exhibit “A”). CuraScript is Mallinckrodt's exclusive specialty pharmacy

distributor for Acthar.

       29.     Defendant Accredo Health Group, Inc. (“Accredo”) is a wholly-owned subsidiary

of ESI. Accredo became a wholly-owned subsidiary of Medco Health Solutions, Inc. (“Medco”)

on August 18, 2005, months before ESI acquired Priority, and then became part of ESI when ESI

acquired Medco in 2012.

       30.     Accredo is a Delaware corporation with its corporate headquarters at 1640



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Century Center Parkway, Memphis, Tennessee 38134. Accredo also has operations in

Warrendale, Pennsylvania, Corona, California, Greensboro, North Carolina, Orlando, Florida,

Indianapolis, Indiana, and Nashville, Tennessee.

       31.     Defendant United BioSource Corporation (“UBC”) is a Delaware corporation

with its corporate headquarters at 920 Harvest Drive, Blue Bell, Pennsylvania 19422. When

Rockford filed its initial Class Action Complaint on April 6, 2017, as well as when it filed its

subsequent First Amended Class Action Complaint on October 9, 2017, UBC was a wholly-

owned subsidiary of ESI. UBC was acquired by ESI in 2012 as part of the Medco merger.

       32.     On November 27, 2017, ESI announced that it sold UBC to Avista Capital

Partners, a private equity firm. As of the date of this filing, Plaintiffs do not know if the sale has

been completed.

       33.     UBC is described as Mallinckrodt’s “agent” on the ASAP form (Exhibit “A”

hereto) which Mallinckrodt employs exclusively to operate the ASAP program and to manage

ESI’s exclusive distribution, sales and reimbursement of Acthar by its 3 operating arms,

CuraScript, Accredo and ESI.

       34.     As stated in Paragraph 1, ESI, CuraScript, Accredo and UBC are collectively

referred to herein as “Express Scripts”.

       35.     Mallinckrodt and Express Scripts are collectively referred to herein as

“Defendants”, as appropriate.

       36.     The Defendants’ acts alleged in this Second Amended Class Action Complaint to

have been done by each of the Defendants were authorized, ordered, done and/or ratified by their

respective officers, directors, agents, employees or representatives while engaged in the

management, direction, control or transaction of their respective business affairs.



                                                  8
                                 FACTUAL BACKGROUND

       37.     “I have a Cadillac in my refrigerator.” That is how one Acthar patient named

Sharon Keller described an unused 5-ml vial of the medication sitting in her kitchen refrigerator.

       38.     The tale of how a 65 year-old brand medication could rise in price from $40 per

vial in 2001, to $40,840.80 per vial by 2015, raising that value of the brand from $100,000 to

$5.9 billion, is a story of perhaps the most egregious fraud and monopolistic conduct in U.S.

history by a prescription drug company.

       39.     The issue in this case is how Mallinckrodt achieved such a startling outcome.

                  History of Acthar Development, Distribution and Pricing
                                    Acthar Development

       40.     Acthar was approved by the Food and Drug Administration (“FDA”) in 1952 for

over fifty conditions, ranging from alcoholism, poison ivy, and radiation sickness to nephrotic

syndrome. Over time, with additional evidence-based requirements for prescription drugs, the

list was winnowed to the fewer, present-day nineteen indications.

       41.     Acthar is adrenocorticotropic hormone (“ACTH”), which causes the body to

produce cortisone and other steroid hormones. Two Mayo Clinic researchers, Drs. Philip Hench

and Edward Kendall, developed the treatment, which won them the Nobel Prize for medicine at

the time it was developed. Acthar was developed by Armour Pharmaceutical Company. As

described by the Seventh Circuit in Armour & Co. v. Wilson & Co., 274 F.2d 143, 145-46 (7th

Cir. 1960):

               In a human being, . . . (ACTH) appears in the anterior lobe of the
               pituitary gland located at the base of the brain. When the human
               body is under stress or attacked by certain diseases, control centers
               in the brain excite the pituitary, and the pituitary secretes ACTH.
               In the blood stream the ACTH thus secreted is carried to the
               adrenal glands situated in the human body above the kidneys. As
               the ACTH hits the outer wall of the adrenal glands, it stimulates


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               the adrenals to produce a set of chemical substances such as
               steroids, including the hormones, cortisone and hydrocortisone.

               The cortisone hormones then act in the tissues of the body to
               suppress inflammations and allergic reactions. ACTH thus is used
               to relieve such conditions as rheumatoid arthritis and allergies.
               ACTH does not, itself, directly attack disease. However, it
               stimulates the adrenals which produce more than twenty-eight
               steroids, and these hormones attack the diseased tissues. When the
               human body itself does not supply sufficient ACTH,
               pharmaceutical ACTH can fill the gap.

       42.     By the 1960s, injectable ACTH medications faced a variety of competing

products. See id. at 145 (“Both Armour and Wilson manufacture and sell gelatin-ACTH

preparations . . . . Gelatin-ACTH now constitutes more than 80% [o]f all forms of ACTH

products sold by Armour and Wilson. Other companies . . . produce similar products”).

       43.     For the majority of the drug’s lifespan, however, generic corticosteroids, such as

prednisone, effectively treated the majority of the indications for which Acthar was approved.

That factor tended to limit the market for Acthar to treating infantile spasms (“IS”) which was

originally an “off-label” indication. Consequently, because of the limited, off-label market for

Acthar, by 2001, the drug was priced at $40 per vial and accounted for less than a million dollars

of revenue for Aventis Pharmaceuticals, Inc. (“Aventis”), the then-owner.

       44.     In 2001, Questcor acquired Acthar from Aventis for only $100,000, but in 2014

Mallinckrodt acquired Questcor for $5.9 billion.

       45.     Acthar’s value was limited because it was the “gold standard” for treating only

one condition, infantile spasms (“IS”). IS is a serious condition in infants, but one with an

annual patient population of less than 2,000 children per year. However, Acthar was not

originally approved by the FDA to treat IS, further limiting its value. A few years later, the IS

indication was approved by the FDA, and orphan drug status was granted.



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      Acthar Distribution: Mallinckrodt Adopts a "New Strategy" to Restrict Acthar
         Distribution to Maintain and Enhance its Monopoly Power over Acthar

        46.     Acthar is a specialty pharmaceutical distributed directly to patients, like the

beneficiaries of the Plaintiffs and the Class in this case.

        47.     For decades, Acthar was distributed to any doctor, hospital, wholesaler or

specialty pharmacy who requested the drug to treat seriously ill patients. After Questcor

acquired the rights to Acthar, it initially maintained that broad distribution network.

        48.     However, on July 2, 2007, Mallinckrodt restricted its distribution from three

wholesalers, termed Wholesalers “A”, “B”, and “C” in its 2007 10-K, to just Express Scripts, the

agent of its largest customers. Mallinckrodt’s announcement stated, “[e]ffective August 1,

2001, Acthar…will be available exclusively through Specialty Pharmacy Distribution.

Acthar Gel will no longer be available from traditional pharmaceutical wholesalers or retail

pharmacies.” See July 2, 2017, “Urgent Product Alert H.P. Acthar Gel” (attached to the

Amended Complaint and this, Second Amended Complaint at Exhibit “B”). All distribution

would now be done exclusively through CuraScript. “[A]ll new Acthar Gel prescriptions should

be submitted to the Acthar Support & Access Program.” Id. All aspects of Acthar distribution

were handled by Express Scripts.

        49.     The goal of this “new strategy” was to lock patients into receiving Acthar through

one distribution channel controlled by Mallinckrodt and Express Scripts, and to ensure

prescription distribution and payment through one source, Express Scripts. Mallinckrodt has

maintained this exclusive arrangement with Express Scripts since 2007 up through the present.

Throughout this time, title, dominion and risk for Acthar remained with Mallinckrodt.

        50.     Mallinckrodt manages its exclusive arrangement with Express Scripts through a

program known as the “Acthar Support & Access Program” or “ASAP.” This program is


                                                  11
structured so that Mallinckrodt ships Acthar directly to patients and receives payment directly

from the associated third party payors.

       51.     Once the patient (or their physician) contacts Mallinckrodt for a prescription of

Acthar, they are directed to UBC. Otherwise, patients and/or their providers contact UBC

directly, as directed by the Acthar Start Form at Exhibit “A” hereto. UBC then serves as the

“HUB” for Mallinckrodt and Express Scripts. It confirms the patient’s insurance coverage or

other source of payment, and then arranges for Acthar to be delivered directly to the patient by

CuraScript.

       52.     The process, which is laid out in a form provided by Mallinckrodt, the “Acthar

Start Form”, requires patient, physician and payor authorization before Mallinckrodt agrees to

ship Acthar to patients via ESI/CuraScript. See Exhibit “A” hereto. Thus, Express Scripts is not

at risk. The Acthar Start Form consists of 3 sections: (1) a section requiring signature by the

“HCP” (or health care professional); (2) a patient authorization requiring signature by the

“patient or legal representative”; and (3) information form concerning Acthar indications and

usage. The required signature of the patient authorizes “Mallinckrodt and its agents” to do a

number of things in relation to the prescription and distribution of Acthar. It further authorizes

Mallinckrodt and its agents, “including Mallinckrodt reimbursement support personnel and

United BioSource Corporation (“UBC”) or any other operator of the Acthar Support Access

Program on behalf of Mallinckrodt (collectively, ‘Designated Parties’)” to provide Acthar and

receive payment, among other things.

       53.     Specifically, the patient authorizes Mallinckrodt, UBC, “or any other operator” of

ASAP on behalf of Mallinckrodt, “collectively (‘Designated Parties’), to provide certain services

to [the patient], including reimbursement and coverage support, patient assistance and access



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programs, medication shipment tracking, and home injecting training.” In other words, the

patient directly authorizes Mallinckrodt and its agents to ship Acthar to them directly via

CuraScript, and authorizes payment by both the patient and any third party payor prior to

obtaining the medication. So, the patient authorizes ESI to bill the payor for Acthar.

       54.     Similarly, the physician must “authorize[ ] United BioSource Corporation

(“UBC”), the current operator of the Acthar Support and Access Program (“Program”), and other

designated operators of the program, to perform a preliminary assessment of benefit verification

for this patient…”. The physician also “agree(s) that the designated specialty pharmacy receive

this prescription via a designated third party, the Program and that no additional confirmation of

receipt of prescription is required by the designated specialty pharmacy.”

       55.     The interaction of all 4 elements of Express Scripts’ functions on behalf of

Mallinckrodt are described below.

       56.     Express Scripts is the largest buyers’ agent for pharmaceuticals in the United

States. Express Scripts has substantial buying power as a result of its representation of the

largest number of buyers in the pharmaceutical marketplace.

       57.     Express Scripts styles itself as a “pharmacy benefit manager” or “PBM”, but it

does more than simply process claims for prescriptions filled at retail pharmacies. In addition to

“retail pharmacy claims processing, formulary management, utilization management and home

delivery pharmacy services”, Express Scripts offers “specialty services that deliver . . . high-cost

injectable, infused, oral or inhaled drugs,” and “compliance programs, . . . drug therapy

management programs, [] data analysis, and [] distribution services.” 1 Acting “either directly or

through its subsidiaries”, Express Scripts acts as a direct pipeline from a pharmaceutical
1
 Express Scripts Holding Company Annual Report on Form 10-K for the Fiscal Year Ending
December 31, 2012.


                                                13
manufacturer to the patient, facilitating the direct distribution of a prescription drugs from the

factory to the patient’s home.

         58.     Express Scripts is able to act as a manufacturer’s direct distributor of specialty

drugs to patients because it provides what it calls “integrated specialty services.” (emphasis in

original). 2 As one Express Scripts’ executive put it “we’re family.” These integrated services

include a PBM (ESI), a specialty pharmacy distributor (CuraScript), and a specialty pharmacy

provider (Accredo).

         59.     Express Scripts coordinates all of these functions through its so-called

pharmaceutical support services unit, UBC. UBC acts as a “‘hub,’ that serves as a centralized

point of contact for [] patients [] and prescribers” 3 by “[w]orking hand-in-hand with Express

Scripts’ specialty pharmacy and specialty distribution organizations, Accredo and CuraScript

[],”4 to coordinate delivery of and reimbursement for specialty pharmaceuticals.

         60.     In total, UBC operates “an integrated service model that involves UBC . . .

manag[ing] multiple system applications that support one product. [UBC’s] services include the

UBC coordinating center, nurse coordination . . . product fulfillment through Accredo and

wholesale fulfillment through CuraScript[]. When a patient is prescribed [a specialty]

medication, the doctor sends a referral to the Reimbursement Hub. [UBC’s] team serves as the

liaison among doctors, patients, and insurance companies as [UBC] . . . navigate[s] the coverage

process. [UBC] . . . ensure[s] a smooth transition from enrollment through shipment of the

medication.”

         61.     Part of the reimbursement hub process is coordination with ESI’s CuraScript,
2
    https://curascriptsd.com/corporate-overview
3
    http://www.ubc.com/services/loyalty/reimbursement-patient-assistance
4
    http://www.ubc.com/about/about-ubc

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which acts as an “integrated delivery network” connecting patients to manufacturers through

“end-to-end distribution services.” 5 Simply put, CuraScript is similar to a FedEx, DHL, or UPS

for specialty prescription drugs. CuraScript advertises that it is “recognized by the

manufacturing community as [] a reliable partner in the management of brands” through

CuraScript’s “integrated specialty services,” which deliver medications to patients “alongside

sister organizations Accredo and UBC.” 6

          62.    To facilitate these end-to-end distribution services, UBC coordinates CuraScript’s

activities with Accredo, which provides so-called specialty pharmacy services. By acting as the

hub, UBC ensures that a patient whose pharmacy benefits are managed by ESI can get a

specialty medication delivered to him or her by coordinating direct shipment through CuraScript

and Accredo and direct payment through ESI. “As one UBC executive has explained “if UBC is

the Hub and Accredo is the [specialty pharmacy] . . . we can send the patient’s prescription over

to Accredo, and they will not have to duplicate any of our efforts, which another pharmacy

would be compelled to do because of risk. Accredo trusts us.”

          63.    Accredo provides specialty pharmacy and related services for patients with certain

complex and chronic health conditions. Accredo’s staff is comprised of a team of specialty-

trained pharmacists, nurses, patient care advocates, social workers and insurance coordinators

whom, among other things, “handle everything about” a patients’ medications and/or specialty

therapy.

          64.    Along with UBC, Accredo provides: (a) support to orphan and ultra orphan

patient populations; (b) HUB employees to navigate insurance requirements, like prior

authorizations, for patients and prescribers; (c) clinicians who are available 24/7 to address
5
    https://curascriptsd.com/Rare-Disease-Specialty-Distribution-Program
6
    https://curascriptsd.com/supplier-relations

                                                  15
patient concerns and provide guidance on mitigating adverse events; (d) reimbursement HUB

specialists to steer patients to funding solutions, and (e) an integrated solution allowing patients

to start therapy twice as fast.

        65.     The Rockford patients at issue dealt with Accredo for her fulfillment of Acthar.

Accredo publicly represents that by using Accredo’s specialty pharmacy services, plan sponsors,

like Rockford, can save money by managing their specialty spend through Accredo. Accredo

further promises patients the most effective and affordable medications while ensuring

appropriate utilization, manage unit costs, drive out waste and reduce related medical expenses.

        66.     The Acument patient at issue dealt with CVS Caremark for their fulfillment of

Acthar. It is believed, and therefore averred, that UBC coordinated the shipment of Acthar

directly to the spouse of Acument’s employee via the same integrated “hub” network with the

lone exception being that Acument’s payment was made to its PBM, CVS Caremark, before

being routed to Mallinckrodt.

        67.     In simple terms, through UBC’s coordination with Accredo, CuraScript, and ESI,

Express Scripts delivers a prescription drug directly from the manufacturer to the patient,

removing all impediments to delivery and payment, whether medical, logistical or financial.

        68.     With respect to Acthar, Mallinckrodt has a contract with UBC to coordinate the

delivery of Acthar through what it has called the ASAP Program. Beginning with its July 2,

2007 announcement, Mallinckrodt directed physicians to prescribe Acthar through the ASAP

program. See Exhibit “B”. In this announcement, Mallinckrodt directed physicians that “all new

Acthar [] prescriptions should be submitted to the [ASAP program].” Prescriptions are

submitted to the ASAP program through the “Acthar Start Form.” See Exhibit “A”. This form

authorizes UBC to coordinate reimbursement with ESI and direct the prescription to a



                                                 16
“designated specialty pharmacy.” This designated specialty pharmacy is Accredo. Accredo

dealt with the Acument patients in 2015. Part of UBC’s activities involve coordinating the

shipment of Acthar from CuraScript through Accredo to the patient. Indeed, in order to revoke

UBC’s authorization to perform these services, the patient must mail a letter to CuraScript’s

address in Florida. It is believed and therefore averred that Acument’s patient provided a similar

authorization to UBC for shipment from CuraScript.

       69.     The Acthar distribution arrangement between Express Scripts and Mallinckrodt is

illustrated in the following two figures. In Figure 1, the distribution arrangement is described in

aggregate.




        Figure 1

       70.     Figure 2, below, illustrates how Acthar is prescribed, authorized, distributed and

paid for through Express Scripts. Payment flows are represented by green arrows traveling from

payor and patient to Mallinckrodt, while product flows are represented by black chevrons

flowing from Mallinckrodt to the patient. Although these payments pass through Express


                                                17
Scripts, payment flows and products flows are ultimately aligned between Mallinckrodt and

UBC, Express Scripts’ reimbursement hub, through a contract with Mallinckrodt to operate the

ASAP program, which ostensibly operates to confirm the medical necessity of the prescription

(by Accredo), to arrange payment (to ESI or CVS Caremark) for shipment (from CuraScript) of

Acthar to patients. CuraScript has a contract with Mallinckrodt to ship Acthar. Through these

contractual arrangements, Acthar travels from Mallinckrodt directly to the patient, and payments

are channeled back to Mallinckrodt.

       71.     The patient, on the other hand, has prescription insurance coverage through his or

her health plan. In this case, Rockford had the health plan that covered its two employees. The

health plan has a contract with ESI, which requires ESI to collect payments for the price of

Acthar. Acument similarly had a contract with CVS Caremark which covered its employees and

his spouse. CVS Caremark is required to collect payments for the price of Acthar.

       72.     By these arrangements, Acthar product flows directly from Mallinckrodt through

Express Scripts to the patient, while the money flows directly from the patient and payor through

Express Scripts back to Mallinckrodt.




                                                18
        Figure 2

       73.     Wielding both the largest collection of patients in the United States and a direct

shipment channel for specialty drugs, Express Scripts is in a unique position to negotiate the

most competitive, discount prices for specialty drugs in the United States. This bargaining

power has allowed Express Scripts to push back against attempts by pharmaceutical drug

manufacturers to charges inflated prices for drugs above the actual market value of the drugs.

       74.     Mallinckrodt leveraged and enhanced its monopoly power by limiting the

distribution of its sole specialty drug to just one specialty pharmacy distributor, CuraScript, and

employing as its agents, ESI’s Accredo and UBC, along with CuraScript, to coordinate all

aspects of the distribution and sales of Acthar: from prescription by the physician, to direct home

delivery to the patient, to direct reimbursement by the payor. This allowed Mallinckrodt to raise

its prices tenfold initially, and nearly double in the ensuing years.

       75.     Mallinckrodt Executive Vice-President, Steve Cartt, admitted “‘[w]e did some

market research,’ . . . [t]alking to physicians and others about pricing ‘gave us some comfort that


                                                  19
the [new] strategy would work, and physicians would continue to use the drug, and payers would

pay’ . . . . ‘The reality was better than we expected.’ ” See Milt Freudenheim, Benefit Managers

Profit by Specialty Drug Rights, New York Times, C1, April 19, 2008 (titled The Middleman’s

Markup in New York Print Ed.).

                       Rockford’s PBM Contract with Express Scripts

       76.     In 2015, Rockford contracted with Express Scripts to provide pharmacy benefit

services, among other things. ESI’s Vice President of its Commercial Division, David Brodsky,

executed the agreement with Rockford on behalf of Express Scripts (hereinafter, the “ESI PBM

Agreement”). The term of the ESI PBM Agreement was for three years, from the

commencement date of January 1, 2015 and remains in force.

       77.     Under the ESI PBM agreement, ESI agreed to provide Rockford the following

services:

               a. pharmacy network contracting;

               b. pharmacy claims processing;

               c. mail and specialty drug pharmacy;

               d. cost containment;

               e. clinical programs;

               f. safety programs;

               g. adherence programs, and

               h. formulary and rebate administration.

These services were defined as “PBM Services” in the agreement (emphasis added).

       78.     ESI bargained with Rockford to serve as Rockford’s exclusive specialty pharmacy

provider and distributor. Thus, under the contract, ESI became Rockford’s exclusive provider of



                                               20
the above-stated PBM Services, including the supply of specialty drugs.

       79.      One of the specialty medications Rockford contracted for ESI to supply

exclusively was Mallinckrodt’s Acthar Gel injection. Acthar was listed as a “specialty drug” in

the agreement, and was identified for use to treat “CNS disorders”. Infantile spasms is a type of

CNS disorder.

       80.      Rockford agreed to pay ESI certain reimbursement rates for specialty pharmacy

drugs as established by ESI for each such drug. The reimbursement rates for each drug varied

from a discount of 0% to 54.25%. For Acthar, Mallinckrodt charged Rockford at a discounted

rate of 13.5% off the “average wholesale price”, as set forth in the ESI PBM Agreement.

Mallinckrodt set the average wholesale prices of Acthar used by Express Scripts for

reimbursement.

       81.      In 2015, Mallinckrodt had Acthar shipped directly to the children of two

Rockford employees (hereinafter identified as “Employee 1” and “Employee 2”). ESI then

charged Rockford for the Acthar, pursuant to the terms of the ESI PBM Agreement. Rockford

paid ESI such charges.

       82.      Despite its express obligation to provide “cost containment” as one of the

contracted PBM Services, on April 1, 2015, ESI caused Acthar to be delivered to one of

Rockford’s employees and Rockford was charged $100,457.64 for the 30-day supply of Acthar.

       83.      While “cost containment” is not a defined term in the ESI PBM Agreement, the

plain meaning of the words denotes the act, process or means of keeping something within

limits, and preventing the expansion of something. Here, the “something” which ESI contracted

to “contain” was the “cost” of specialty pharmacy drugs, like Acthar. However, ESI charged

Rockford $488,787.84 for the sale of nine Acthar prescriptions to Rockford employees. These



                                                21
charges by ESI were in breach of the obligation under the ESI PBM Agreement to provide cost

containment.

       84.     Because Express Scripts had entered into an exclusive arrangement with the

manufacturer of Acthar for direct distribution of Acthar to patients, ESI had no incentive to

fulfill its contractual obligation to obtain a lower cost for Acthar than Mallinckrodt wished to

charge. In other instances, including with other specialty pharmaceuticals covered by the ESI

PBM Agreement, Express Scripts used its bargaining power to extract lower prices from the

manufacturers. One such example, described below, involved Turing’s Daraprim.

                                       ESI and Daraprim

       85.     Turing Pharmaceuticals, LLC (“Turing”) acquired the rights to Daraprim, and

proceeded to increase the price 5000% from $13.50 to $750.00 per pill. One year’s course of

treatment rose from $6,500 to $361,000.

       86.     Strikingly, ESI employed its market power to counter Turing’s action. It worked

to create an alternative that was much less expensive than Daraprim.

       87.     On December 1, 2015, ESI announced that it would “partner with Imprimis

Pharmaceuticals to drive access to a low-cost alternative to Daraprim.” ESI, ESI Champions $1

per Pill Access to an Alternative for Daraprim, Dec. 1 2015, http://lab.express-

scripts.com/lab/insights/drug-options/express-scripts-champions-1-per-pill-access-to-an-

alternative-for-daraprim. In partnership with ESI, “Imprimis [] offer[ed] a compounded oral

formulation of pyrimethamine and leucovorin (a form of folic acid) for as low as $1 per capsule

for people whose pharmacy benefit is managed by ESI.” Id. When it is in ESI’s interest, it acts

to “improve access and affordability.” Id.

       88.     ESI’s Chief Medical Officer, Dr. Steve Miller, stated that ESI had found a way to



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deliver “a safe, high-quality and extremely cost-effective way to provide access to a Daraprim

alternative.” However, because of its agreement with Mallinckrodt, ESI has not served as an

effective agent for pharmaceutical buyers to seek to lower the cost of Acthar, or the availability

of reasonably priced alternatives.

                                         Acthar Pricing

       89.     Mallinckrodt acquired the rights to Acthar from Aventis in 2001. At acquisition,

the end payor price of a vial of Acthar was approximately $40.00. After acquisition,

Mallinckrodt raised the per vial, end payor price of Acthar to approximately $748.00. From

2001 until Mallinckrodt executed its new strategy in 2007, the end payor price of Acthar grew to

$1,980.00.

       90.     When Mallinckrodt implemented its new strategy on August 27, 2007, the end

payor price of Acthar rose to a staggering $27,922.80 – a 1,310% increase in the span of a

month, and a 69,707% increase from the time Mallinckrodt acquired the drug.

       91.     Until Mallinckrodt obtained FDA approval for the IS indication, the price of

Acthar remained stable. However, in 2011, Mallinckrodt increased the price of Acthar 5% on

January 3, 2011, another 5% on June 1, 2011, and executed a third price increase on December

27, 2011. In 2012, Acthar’s end payor price was $34,150.00.

       92.     Near in time to Mallinckrodt plc’s $5.9 billion acquisition of Questcor, in 2014,

the price of Acthar rose to $40,840.80. Under Mallinckrodt plc’s stewardship, the end payor

price of Acthar rose in 2016 to $42,942.60, and to $43,658.40 in 2017.

       93.     Since the acquisition of Acthar in 2001, the end payor price of Acthar has grown

109,046% reflecting the precipitous rise in the value of the Acthar assets from $100,000 in 2001

to $5.9 billion in 2014 – a 5,899,900% increase in value. The dramatic increase in value of the



                                                23
Acthar assets, coupled with the durable and repeated ability to raise the price of Acthar,

underscore the monopoly power wielded by Mallinckrodt in the ACTH market. Mallinckrodt’s

tactics described in this Complaint, however, reflect Mallinckrodt’s willingness to undertake

actions to maintain and grow its monopoly in the ACTH market, in violation of the antitrust

laws.

                     The Views of Express Scripts’ Chief Medical Officer,
                     Dr. Steve Miller, on Express Scripts’ Market Power

        94.    Beginning in 2007, Express Scripts became the exclusive agent of Mallinckrodt

for the distribution of Acthar. See Freudenheim, supra. When Mallinckrodt chose to increase

the price of this 50-plus year old medication, Express Scripts did not push back. Instead, when

confronted with the 2007 price increase, ESI’s Chief Medical Officer Steve Miller stated that

“[t]he increase was a manufacturing decision. I can’t comment on it.” Id.

        95.    The circumstances demonstrate why Dr. Miller chose to stay silent in the face of

Express Scripts’ decision to join Mallinckrodt in overcharging payors for Acthar.

        96.    By the time the Plaintiffs’ beneficiaries were prescribed Acthar in 2015, Express

Scripts was handling each and every aspect of Acthar distribution through the above-described

functions. CuraScript was the exclusive specialty pharmaceutical distributor, Accredo was the

specialty pharmacy provider, and UBC coordinated both the product and money flows through

the ASAP Program. As Mallinckrodt’s exclusive agent, Express Scripts had no interest in

lowering the price for Acthar because it was making money off all aspects of its exclusive

arrangement with the manufacturer. In other words, by helping Mallinckrodt maintain and

enhance its monopoly power in the ACTH market, Express Scripts along with Mallinckrodt

realized greater profits at the expense of payors, like Plaintiffs.

        97.    In the spring of 2017, ESI’s Senior Vice President, Supply Chain and Specialty


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Pharma, Everett Neville, stated “I don’t think [Acthar is] a very great [drug] – it’s a pretty poor

drug with a very limited need and certainly [Express Scripts Chief Medical Officer, Dr,]

Steve[Miller] could comment.” He went on to say “I think [Dr. Miller] and I both would agree,

and I think everybody in our company would agree, that [Acthar] is vastly overpriced for

the value.” (emphasis added). Mr. Neville went on to state that he “personally told

[Mallinckrodt’s] management team that their drug is hugely overpriced and that he “know[s] [Dr.

Miller] has as well.”

        98.     In the same public setting, Dr. Miller stated, “[i]f you look at the data, the

indications for the drug are . . . in the compendium, it’s listed under a lot of indications, its real

use should be very, very limited. It’s an old drug. There’s better products in the marketplace

and so we’re going to continue to be very vigilant in our utilization management.”

        99.     Despite this express acknowledgment by Express Scripts’ Chief Medical Officer,

in the weeks and months following Mallinckrodt’s settlement with the FTC, Express Scripts has

not acted or made any efforts to contain costs or provide a reasonable alternative for Acthar.

        100.    Dr. Miller, Express Scripts Chief Medical Officer, has articulated the power of

Express Scripts in the prescription drug marketplace to extract lower prices for its customers,

using its tremendous buying power and influence. He has made all of the following public

comments:

        “When I joined the company, we represented 12 million members. We’re
        at 85 million today. That gives us extraordinary sway in the marketplace.
        If you think about any other aspect of health care, no one else has that
        many lives that they can represent.” 7


7
 Managed Care Magazine Online, “A Conversation with Steve Miller, MD: Come in and Talk
With Us, Pharma,” by Peter Wehrwein, April 2015,
https://www.managedcaremag.com/archives/2015/4/conversation-steve-miller-md-come-and-
talk-us-pharma


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        “We have tremendous scale, which allows us to get the best deals for our
       plan sponsors from both the pharmaceutical manufacturers and also the
       pharmacies. If any pharmacy chain ever becomes too large, we’re able to
       move our patients and … get the lowest cost.” 8

        “I think that because of the continued escalation of cost, you need a PBM
       now more than ever. And what a best-in-class PBM like Express Scripts
       does really ensure is great health outcomes and more affordable costs.” 9

       “Pharma has shown that they feel very emboldened with their pricing
       power. We’re using our clout in the marketplace to really tamp these
       down for our clients.” 10

       “There are pharma companies that recognize this is in their best interest,”
       he says. “They, like us, want to get to a sustainable marketplace. They
       know if they’re overcharging for drugs that have very little efficacy, that
       puts them in a competitive disadvantage.” 11

       “Discussions to control costs have never been more important, as recent
       estimates put global drug spend at $1.5 trillion by 2021, according to data
       from Quintiles IMS Holding. Yet sometimes, in the drug pricing debate,
       blame is placed on one part of the drug distribution system when, in fact,
       all of us – pharmaceutical companies, pharmacy benefit managers
       (PBMs), policymakers and payers – have a role to play in achieving better
       affordability and accessibility for medicine. As the largest PBM, our job
       is to make sure our patients, and our clients who provide them a pharmacy
       benefit, are getting medicines at the lowest net cost while working with


8
 Business Insurance, “Q&A: Dr. Steve Miller, Express Scripts Holding Co.,” by Shelby
Livingston, May 22, 2016,
http://www.businessinsurance.com/article/00010101/STORY/305229991/Q&A-Dr-Steve-
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increases/
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  Medical Marketing and Media, “Express Scripts’ Steve Miller Takes on Drug Industry in
Pricing Battle,” by Jaimy Lee, February 1, 2015, http://www.mmm-online.com/payersmanaged-
markets/express-scripts-steve-miller-takes-on-drug-industry-in-pricing-battle/article/460559/


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       our industry partners to make that possible.” 12

       “…[I]t is incumbent upon the pharmacy benefits managers to more
       forcefully illustrate the critical role we play in making medicine more
       affordable and accessible. For example, we partnered with a drug maker
       who was willing to lower the price of its hepatitis C drug. In doing so, we
       were able to provide 50,000 patients affordable access to this
       medication.” 13

       “The biggest problem is not new expensive drugs but repricing old ones,
       and not just ones being purchased by Martin Shkreli or Valeant. ‘You
       have no new research. You have no innovation. You have nothing but
       increased drug prices.” 14

       “We are constantly trying to be vigilant and chase the bad actors out of the
       marketplace.” 15

       101.    Through such statements, Express Scripts acknowledged its strong influence on

pharmaceutical markets. The striking feature of the current circumstance is that Express Scripts

has not asserted its influence to effectuate lower prices for Acthar.

       102.    While acknowledging the “value” of the medication does not warrant its high

prices, Express Scripts has facilitated, rather than forestalled, Mallinckrodt’s desire for ever

growing profits by “repricing” an “old drug”.

12
  Real Clear Health, “Is Drug Pricing at an Inflection Point?” by Dr. Steve Miller, April 14,
2017,
http://www.realclearhealth.com/articles/2017/04/14/is_drug_pricing_at_an_inflection_point_110
550.html
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  Real Clear Health, “Is Drug Pricing at an Inflection Point?” by Dr. Steve Miller, April 14,
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January 20, 2016, https://www.forbes.com/sites/matthewherper/2016/01/20/solving-pharmas-
shkreli-problem/#6dcce78c6be3
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  The New York Times, “Specialty Pharmacies Say Benefit Managers Are Squeezing Them
Out,” by Katie Thomas, January 9, 2017,
https://www.nytimes.com/2017/01/09/business/specialty-pharmacies-say-benefit-managers-are-
squeezing-them-out.html

                                                 27
       103.     With Acthar, “[y]ou have nothing but increased drug prices,” due in large part to

Express Scripts’ decision to withhold its market power to effectuate cost containment through

lower prices.

                   THE MALLINCKRODT SYNACTHEN ACQUISITION

       104.     Since 2007, Acthar has represented 98% or more of Mallinckrodt’s revenue.

Acthar was so important to Questcor that its then-CEO, Don Bailey told investors it “is basically

a single product company.”

       105.     Through its exorbitant price increases, Mallinckrodt was able to grow its revenue

from Acthar sales from less that $1 million in 2001 to $798.9 million in 2013. Much of this

increase occurred between 2011 and 2013 when Mallinckrodt’s revenues increased $218.2

million to $798.9 million.

       106.     However, by 2013, Mallinckrodt had identified a competitive threat. Novartis AG

(“Novartis”) had developed Synacthen Depot (cosyntropin depot) (“Synacthen”), a synthetically

derived ACTH medication, which, like Acthar, could be injected intra-muscularly. While it was

used outside the United States, it was not yet approved by the FDA for use in the United States.

Recognizing that the entry of Synacthen in the U.S. market for ACTH drugs would threaten its

exercise of its monopoly power, Mallinckrodt first attempted to buy the rights to Synacthen in

2009. It failed.

       107.     As of 2013, Novartis agreed to sell Synacthen to Retrophin, Inc., which at the

time was helmed by Mr. Shkreli. Mr. Shkreli founded Turing (the maker of Daraprim) after he

departed Retrophin.

       108.     When faced with a competitive threat to its monopoly, Mallinckrodt disrupted the

bidding process for Synacthen by intervening at the last minute to pay multiple times what had



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been offered by three competitors, including Retrophin. Retrophin had agreed to buy Synacthen

for $16 million. Upon learning of this imminent threat, Mallinckrodt acted to protect and

enhance its monopoly power by licensing Synacthen for a minimum of $135 million from

Novartis. It licensed the U.S. exclusive rights to Synacthen from Novartis, not to bring this

viable synthetic alternative to Acthar to market, but to eliminate the nascent competitive threat

posed by an independently owned Synacthen.

       109.    These actions allowed Mallinckrodt to maintain and enhance its monopoly power

in the ACTH market. The Synacthen acquisition had the purpose and effect of suppressing

competition and allowing Mallinckrodt to continue to raise prices for Acthar, which it did.

       110.    From 2013 through 2017, Mallinckrodt raised the price of Acthar from $36,144 to

$43,658.

                 RELEVANT MARKETS AND MONOPOLY POWER,
               AND THE FTC COMPLAINT AGAINST MALLINCKRODT

       111.    The supracompetitive and exorbitant prices that Mallinckrodt charges for Acthar,

and its limitations on distribution through the entry into an exclusive distribution arrangement

with Express Scripts in 2007, are direct evidence of Mallinckrodt’s monopoly power and actions

to maintain and enhance such monopoly power, in violation of the antitrust laws. That Acthar

holds a dominant share of the relevant market for ACTH drugs in the United States shows

Mallinckrodt’s monopoly power by indirect evidence.

       112.    The relevant product market is the sale of ACTH drugs, dominated by just one

product, Acthar. The geographic market is the United States. In this market, Mallinckrodt is the

single seller, and the third party payors are the leading buyers.

       113.    That market is and has been characterized by significant barriers to entry.

       114.    There are no medical or reasonably available substitutes for Acthar. The only


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potential substitute was Synacthen, which Mallinckrodt purchased the rights to from Novartis in

2013, only to shelve the product rather than seek to bring it to market in the United States.

       115.    On January 18, 2017, the Federal Trade Commission (“FTC”) sued Mallinckrodt,

alleging that Mallinckrodt exercised, and continues to exercise, monopoly power in the United

States in the sale of Acthar. See generally, Complaint for Injunctive Relief and Other Equitable

Relief (“FTC Complaint”) at Exhibit “B” to the original Complaint (Dkt. No. 1-2, filed

04/06/17).

       116.    The FTC alleged that such purchases “extinguished a nascent competitive threat

to [Mallinckrodt’s] monopoly.” FTC Complaint, ¶ 1.

       117.    At all relevant times material to this case, Mallinckrodt possessed monopoly

power—the ability to profitably raise price significantly above competitive levels without losing

significant sales—in the relevant product market. None of the vast price increases taken by

Mallinckrodt between 2007 and the present have caused a significant loss of sales. To the

contrary, Mallinckrodt’s sales have increased during that time.

       118.    Mallinckrodt has repeatedly and profitably raised Acthar’s price from the time it

acquired the product for $100,000 in 2001 from Aventis to the present. Mallinckrodt has been

able to raise prices unchecked, as set forth above, and achieve corresponding revenue growth to

more than $1 billion.

       119.    Mallinckrodt has encountered no competitive constraints on its ability to

repeatedly increase Acthar’s price and, by extension, its revenue and profit margins.

Mallinckrodt does not set the price of Acthar in reference to the price of any of the other drugs

that are prescribed to treat the same indications that Acthar treats. Acthar is priced significantly

higher than non-ACTH drugs used to treat the same indications, except for IS.



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       120.    Indeed, one Mallinckrodt executive commented that the price for Acthar “was

chosen by looking at the prices of other specialty drugs and estimating how much insurers and

employers would be willing to bear.” Mallinckrodt took “some comfort that the strategy would

work, and physicians would continue to use the drug, and payers would continue to pay.” In

fact, according to Mallinckrodt, “reality was better than expected.”

       121.    In its Annual Report on Form 10-K for the Fiscal Year ended December 31, 2007,




Questcor illustrated the effect of its monopolization strategy on its “5 Year Cumulative Total

Return”, illustrating a 290% return between 2006 and 2007 as follows:

       122.    FDA approval is required to market pharmaceuticals to U.S. consumers. As a

result, drugs sold outside of the United States are not viable competitive alternatives for U.S.

consumers, even in the event of a significant price increase for ACTH drugs available in the

                                                 31
United States.

       123.      Acthar has a 100% share of the market for ACTH drugs in the United States. No

other ACTH drug is FDA-approved for therapeutic use.

       124.      The United States ACTH market is characterized by high barriers to entry.

Developing a long-acting, depot-injection formulation of a drug product containing ACTH

(natural or synthetic) that is stable, safe, and effective would require significant time, cost, and

effort, with no guarantee of success. The requirements for entry include sourcing the active

pharmaceutical ingredient, formulating a sustained-release depot-injection formulation, scaling

production to clinical scale, and successfully conducting clinical trials necessary for FDA

approval. Mallinckrodt’s former CEO Don Bailey assured investors that Acthar “has significant

durability in the marketplace” because “it will be very difficult for this product to be replicated in

any way [by] a generic.”

       125.      Former CEO Don Bailey also claimed that one of the barriers to entry is the

Acthar drug formulation. While Acthar is a biologic extraction of porcine pituitaries, Bailey

claimed, “[i]t’s an undisclosed composition, so that’s a trade secret.” He also claimed “[t]he

manufacturing process is also a trade secret. It’s complex, it’s unique, and we own all elements

of the manufacturing process. …The composition of Acthar that comes out of the manufacturing

process is tied to the process, so if you don’t know the process you can’t figure out what’s

actually in Acthar.”

       126.      If what the former CEO was saying was that Questcor enjoyed a natural

monopoly, that does not necessarily imply the absence of market constraints. These constraints

can come from a new competitive product or from a dominant buyer on the other side of the

market. Both of these factors are relevant here.



                                                   32
         Mallinckrodt Engaged in Anticompetitive Conduct By Acquiring the Only
                             Competitor Drug, Synacthen

       127.    Synacthen posed a threat to Mallinckrodt’s ACTH drug monopoly, so Questcor

intervened at the time when other firms were attempting to acquire the U.S. rights to Synacthen

from Novartis. Questcor submitted a bid that included substantially more guaranteed money

than the other bidders had offered, effectively ending the bidding process. By acquiring

Synacthen, Questcor eliminated the possibility that another firm would develop it and compete

against Acthar.

       128.    Synacthen constituted a nascent competitive threat to Questcor’s ACTH drug

monopoly, notwithstanding the uncertainty that Synacthen, a preclinical drug, would be

approved by the FDA.

       129.    For years, Questcor viewed Synacthen as a significant potential competitive threat

to its monopoly.

       130.    When Questcor first decided to pursue an “orphan drug” (i.e., high) pricing model

for Acthar, it recognized the potential threat Synacthen posed to Acthar’s revenue growth.

       131.    Nevertheless, in 2007, it adopted and pursued the above-described “new

strategy”, consolidating Acthar distribution to just one distributor and streamlining its control

over sales and distribution through the implementation of ASAP. These functions were

consolidated in one significant company, Express Scripts.

       132.    In 2009, Questcor approached Novartis about acquiring Synacthen. At that time,

Questcor continued to view Synacthen as a possible future competitor, especially given the

increasing prices Questcor was commanding for Acthar. Unsuccessful in that initial attempt,

Questcor continued to monitor the competitive threat from Synacthen.

       133.    Then in 2012, Questcor again concluded that Synacthen posed a more immediate


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threat to Acthar if Synacthen was approved for sale in the United States.

       134.    By 2013, Questcor feared that if another company were to acquire Synacthen and

obtain FDA approval, it could undermine its business model.

       135.    On information and belief, as long as Questcor believed no other firm was seeking

to bring Synacthen to the United States, Questcor did not make further attempts to acquire it.

Indeed, just months before Questcor began pursuing the acquisition of Synacthen, top Questcor

officials questioned whether Synacthen would provide any affirmative value to Questcor.

          Other Bidders Planned to Use Synacthen to Challenge Acthar’s Monopoly

       136.    Unbeknownst to Questcor at the time, Novartis decided in late 2011 to divest

exclusive rights to seek FDA approval for Synacthen and commercialize it in the United States,

along with the marketing rights for Synacthen in over thirty-five other countries where the drug

was already approved and sold. Dozens of companies contacted Novartis and expressed interest

in acquiring Synacthen. Three firms proceeded through several rounds of negotiations with

Novartis, submitted formal offers, and drafted near-final agreements.

       137.    It is alleged that each of the three firms planned to develop Synacthen for IS and

to use Synacthen to compete directly with Acthar. With this indication, each firm expected to

capture a significant share of the U.S. ACTH market from Questcor by pricing Synacthen below

Acthar’s prices. Having the requisite pharmaceutical expertise and financing, the three firms

independently conducted due diligence, crafted business plans and regulatory approval strategies,

and took other affirmative steps in furtherance of developing Synacthen for the U.S. ACTH

market.




                                                34
                               The Value of the Synacthen Assets

       138.    The Synacthen assets and related rights provide a proven formulation for a long-

acting, depot-injection drug containing synthetic ACTH. The drug product manufactured using

the Synacthen formulation has been safely and effectively used to treat patients suffering from IS

and other conditions worldwide for decades. The Synacthen assets would therefore facilitate

commercializing a synthetic ACTH therapy in the United States.

       139.    The asset package being sold by Novartis included valuable trade secrets,

including technical documentation detailing both the precise formulation for the Synacthen drug

product and the manufacturing process.

       140.    In possession of the Synacthen assets, a buyer would not need to create a

synthetic ACTH drug formulation de novo, nor would it need to develop from scratch the

manufacturing and testing protocols necessary for production of the drug product.

                     Questcor Disrupted the Synacthen Bidding Process

       141.    It is alleged that, on October of 2012, Questcor learned that at least one

unidentified firm was attempting to acquire Synacthen from Novartis to develop it to compete

with Questcor for the U.S. ACTH market. Questcor immediately reached out to Novartis, signed

a confidentiality agreement with Novartis, and submitted a confidential offer for the purchase of

Synacthen.

       142.    Novartis negotiated with the three alternative bidders in parallel with Questcor.

By the spring of 2013, all three of the alternative bidders had submitted offers for Synacthen,

with plans to develop and launch Synacthen in the United States in direct competition with

Acthar. At the point where those negotiations left off, each company exchanged deal terms with

Novartis and submitted formal offers. The offers by the three alternative bidders were



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comparable in value and structured similarly, and included an upfront payment, milestone

payments upon FDA approval, and significant royalties on U.S. sales of Synacthen.

       143.    Unlike the three alternative bidders, Questcor had only incomplete plans for

Synacthen and conducted limited due diligence when it submitted its initial offer to Novartis.

Retrophin ultimately prevailed in the bidding war with a bid of $16 million.

       144.    However, on June 11, 2013, the day Retrophin was to sign its agreement with

Novartis, Questcor and Novartis entered into a Licensing Agreement, Asset Purchase

Agreement, and Supply Agreement (collectively, “the Agreements”). By the Agreements,

Questcor gained the exclusive rights to develop, market, and sell Synacthen in the United States

and over thirty-five other countries. Under the Agreements, Questcor is obligated to pay a

minimum of $135 million, and likely will pay $300 million to Novartis for Synacthen.

       145.    In other words, Questcor swept in at the eleventh hour to overpay—at least 8

times more than the market had determined—for the only immediate competitive threat to its

monopoly for Acthar. Despite paying this amount, they did not seek FDA approval to bring the

product to market.

     The Lawsuit Between Retrophin and Questcor for Questcor's Antitrust Violations

       146.    In January 2014, Retrophin sued Questcor for antitrust violations in the United

States Federal District Court for the Central District of California. See Retrophin, Inc., v.

Questcor Pharmaceuticals, Inc., CV-14-00026-JLS (C.D.Cal) ("Retrophin Complaint") (attached

to the Complaint and this, Second Amended Complaint at Exhibit “C”). (To the extent relevant

to Plaintiff’s Complaint, the averments of antitrust conduct interposed by Retrophin are

incorporated by reference herein).




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        147.   In the Retrophin Complaint, Retrophin claimed,

               "[i]n June of 2013, plaintiff Retrophin was poised to challenge
               Questcor's monopoly. It had negotiated an agreement to purchase
               from Novartis AG ("Novartis"), the rights to sell in the US a
               product called Synacthen. ...

               Retrophin planned to obtain FDA approval to sell Synacthen in the
               US and compete head to head against Questcor by dramatically
               undercutting Questcor's price for Acthar. It had negotiated and
               was ready to sign an agreement to purchase the US rights to
               Synacthen from Novartis. The signing was scheduled for June 11,
               2013. The signing of the agreement was so imminent that a press
               release had been prepared to announce the deal.

               On June 11, 2013, the day Retrophin was to sign its agreement
               with Novartis, Questcor swept in and acquired the rights to
               Synacthen. In doing so, it preserved and entrenched its ACTH
               monopoly in US and eliminated the competitive threat posed by
               Retrophin's acquisition of Synacthen.            There was no
               procompetitive aspect of Questcor's acquisition of Synacthen.

Retrophin Complaint, ¶¶ 4-6, at Exhibit “C” to the original Complaint (Dkt. No. 1-3, filed

04/07/17).

        148.   The FTC apparently agreed with Retrophin's assessment.

        149.   Nevertheless, the government, in its 2017 FTC complaint, mirrored Retrophin's

2014 allegations that Questcor engaged in anticompetitive conduct in violation of the antitrust

laws.

        150.   Mallinckrodt chose to settle the Retrophin lawsuit for $15.5 million, slightly less

than the $16 million Retrophin bid to purchase Synacthen from Novartis.

               Mallinckrodt’s Acquisition of Synacthen Harmed Competition

        151.   Mallinckrodt’s strategy to protect its monopoly power in the market for ACTH

drugs was successful. But for Mallinckrodt’s acquisition of Synacthen, one of the three

alternative bidders, including Retrophin, would have acquired Synacthen and pursued its plan to


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develop Synacthen for IS to compete directly with Acthar at a lower price. With the acquisition

of Synacthen, Mallinckrodt was able to thwart an imminent threat to its Acthar monopoly and

thereby harmed competition.

       152.    Mallinckrodt claimed that it acquired Synacthen to develop it for new, non-Acthar

indications, but given the similarities between the two drugs, any therapeutic indication that

Mallinckrodt was to pursue for Synacthen could easily have been pursued for Acthar.

       153.    Fourteen months after acquiring Synacthen, Mallinckrodt acquired Questcor for

$5.9 billion. The vast majority of Questcor’s value was attributable to Acthar and Synacthen.

       154.    However, despite its claims, Mallinckrodt has not brought Synacthen to market

for any indication. Instead, it keeps Synacthen off the market to protect its monopoly power and

high prices for Acthar.

                               Mallinckrodt settles with the FTC

       155.    On January 18, 2017, the FTC announced that Questcor and its parent

Mallinckrodt agreed to pay $100 million to settle FTC charges that Questcor and Mallinckrodt

violated antitrust laws when Questcor acquired the rights to Synacthen from Novartis in 2013.

       156.    According to FTC Chairwoman Edith Ramirez, “Questcor took advantage of its

monopoly to repeatedly raise the prices of Acthar, from $40 in 2001 (when it acquired the rights

to sell Acthar for $100,000) to more than $34,000 per vial today – an 85,000 percent increase.”

       157.    The brunt of these monopoly prices was borne by self-funded payors, like

Plaintiffs, located throughout the country, whose employees and beneficiaries whom were at the

mercy of Mallinckrodt and treated with Acthar.

       158.    From the time it sought FDA approval for the treatment of IS, Mallinckrodt has

raised the price of Acthar to over $43,000.



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        159.   Questcor claimed that these exorbitant price increases were in response to

demand. But its former Chief Executive Officer, Don Bailey, acknowledged in 2009 that “we

only have about 800 patients a year. It’s a very, very small – tiny – market.” Consequently, the

limited use of the product did not justify an over 58,000% price increase from acquisition until

2009.

        160.   Since the Acthar market for the treatment of IS was so limited, Questcor sought to

expand its use. By 2012, Acthar was prescribed for Medicare recipients 3,387 times. To

Medicare alone, this represented a cost of $141,500,000 in 2012.

        161.   Quantified another way, Dr. William Shaffer, a neurologist in Greeley, Colorado

who was the highest prescriber of Acthar in 2012, wrote only 78 prescriptions for the drug, but

the prescribed Acthar cost Medicare $4,000,000.

        162.   Acthar represented 98% or more of Questcor’s sales and revenue from sales since

2007. Its manipulation of the market has resulted in a 266% increase in revenue year-over-year

from 2011 to 2013. Total net sales for Questcor in 2011 were $218.2 million, $509.3 million in

2012, and $798.9 million in 2013. In each of those years, Acthar represented at least 95% of

Questcor’s net sales – over $1.45 billion in revenue.

        163.   In the words of former CEO Don Bailey “Questcor is basically a single-product

company.” But, by flexing its monopoly power, Questcor has been able to raise Acthar prices

and increase revenue from Acthar in a “tiny market” from less than $1 million for fiscal 2001 to

$799 million for fiscal 2013 - a nearly 80,000% increase. It did so in conjunction with Express

Scripts.

        164.   Mallinckrodt's decision to exclusively contract with the agent for its largest

customer to provide limited distribution for Acthar removed ESI’s competitive pressure in the



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marketplace to cause Acthar prices to be lower. Instead, by entering into an exclusive

arrangement with Express Scripts, Mallinckrodt was able to enhance its monopoly power and to

raise its Acthar prices above competitive prices throughout the relevant time period from 2007

through the present.

                               CLASS ACTION ALLEGATIONS

       165.    Plaintiffs bring this action pursuant to Rules 23(a), (b)(2) and (b)(3) of the Federal

Rules of Civil Procedure, on behalf of itself and other similarly-situated persons and entities, and

their beneficiaries, in Illinois and throughout the country. The proposed Class includes:

               All third party payors and their beneficiaries in the United States
               and its Territories that paid for Acthar from August 2007 through
               the present.

Excluded from the above Class are: (a) Defendants and any entity in which Defendants have a

controlling interest, and their legal representatives, offices, directors, assignees and successors,

(b) any co-conspirators with Defendants, (c) any Medicare Advantage Organization (“MAU”),

their representatives, assignors, assignees or related entities, and (d) the States of Alaska,

Maryland, New York, Texas and Washington.

                                             Numerosity

       166.    The proposed Class consists of potentially hundreds of public and private payors

in the proposed Class located throughout Illinois and the United States, based on the fact that

Mallinckrodt has sold thousands of vials of Acthar in each quarter over the last few years alone.

Thus, the Class is so numerous that joinder of all of its members is impractical.

       167.    Despite the size of the Class, its members are easily identifiable, as each patient

was required by Defendants since 2007 to fill out an Acthar Start Form (Exhibit “A” hereto)

which forms were returned to, and have been maintained by, Express Scripts and/or UBC. As a



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result, the records needed to identify the members of the Class are in the hands of the

Defendants.

                                               Typicality

         168.   Plaintiffs’ claims are typical of the claims of the Class, in that the representative

Plaintiffs are entities whom, like other Class Members, paid for Acthar at the inflated prices due

to the unlawful conduct of the Defendants. Plaintiffs, like all similarly-situated Class members,

are damaged and sustained or continue to sustain economic injuries in the form of overcharges

by the misconduct of the Defendants, because it paid higher prices than it would have paid

absent Defendants’ improper actions.

                                     Adequacy of Representation

         169.   Plaintiffs can and will fairly and adequately represent and protect the interests of

the Class. Plaintiffs have no interest that conflicts with or is antagonistic to the interests of the

Class.

         170.   Plaintiffs are represented by counsel who are experienced and competent in the

prosecution of complex actions, including antitrust, RICO and consumer fraud class actions.

                                             Commonality

         171.   The factual and legal bases for the Defendants’ misconduct are common to Class

members and represent a common thread of antitrust racketeering and consumer fraud resulting

in injury to Plaintiffs and the Class. Common questions of law and fact in this case include, but

are not limited to, the following:

                a. whether the Defendants artificially inflated the prices of Acthar;

                b. whether Plaintiffs and the Class have been overcharged and thus damaged by
                   paying artificially inflated prices for Acthar as a result of the unlawful conduct
                   of Defendants;



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c. whether the Defendants have been unjustly enriched by their unlawful
   conduct;

d. whether the Defendants defrauded Plaintiffs and the Class;

e. whether the Defendants engaged in a conspiracy and/or concerted conduct in
   deceiving and defrauding Plaintiffs and the Class about Acthar and Acthar
   pricing, and concealing the truth about their unlawful conduct in colluding to
   artificially inflate the prices of Acthar;

f. whether Defendants had a monopoly in the market for ACTH drugs;

g. whether Mallinckrodt exercised monopoly power with respect to Acthar;

h. whether Defendants took actions to maintain and enhance Mallinckrodt’s
   monopoly power in the ACTH market;

i. whether Defendants unlawfully impaired or impeded competition in the
   market for ACTH drugs;

j. whether Defendants engaged in anticompetitive conduct in order to
   disadvantage Mallinckrodt’s competitors and maintain Mallinckrodt’s
   monopoly power in the market for ACTH drugs;

k. the effects of Mallinckrodt's anticompetitive conduct on Acthar prices;

l. whether Mallinckrodt formed the ASAP enterprise with Express Scripts for
   the purpose of carrying out the scheme to overcharge patients and payors for
   Acthar;

m. whether Defendants used the U.S. mails and interstate wire facilities to carry
   out an unfair ASAP scheme;

n. whether the Defendants are liable to Plaintiffs and the Class for statutory
   damages for conduct actionable under the Illinois Consumer Fraud and
   Deceptive Practices Act, and the antitrust and consumer protection laws of
   other states;

o. whether Plaintiffs and members of the Class are entitled to declaratory and
   injunctive relief as to Defendants’ conduct;

p. whether Plaintiffs and members of the Class are entitled to compensatory
   damages, and, if so, the nature of such damages;

q. whether Plaintiffs and members of the Class are entitled to statutory damages,
   including treble damages;


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                 r. the proper measure of damages; and

                 s. whether Plaintiffs and members of the Class are entitled to an award of
                    punitive damages, reasonable attorneys’ fees, prejudgment interest,
                    post-judgment interest, costs of suit, and other appropriate relief under the
                    circumstances of this case.

                                            Predominance

          172.   These questions of law and fact common to the members of the Class

predominate over questions, if any, that may affect only individual members because Defendants

have acted and refused to act on grounds generally applicable to the entire Class. Such generally

applicable conduct is inherent in Defendants’ anticompetitive conduct in monopolizing and

attempting to monopolize the ACTH drug market, and other conduct as more fully alleged

herein.

                                              Superiority

          173.   A class action is superior to any other available method for the fair and efficient

adjudication of this controversy in that, among other things, such treatment will permit a large

number of similarly situated persons and entities to prosecute their common claims in a single

forum simultaneously, efficiently, and without the unnecessary duplication of effort and expense

that numerous individual actions would engender.

          174.   The prosecution of separate actions by individual members of the Plaintiffs Class

would create a risk of inconsistent or varying adjudications with respect to individual members

of the Class. These adjudications would establish incompatible standards of conduct for the

Defendants which would, as a practical matter, be disparities of the claims of the other members

not parties to the adjudications or substantially impair or impede their ability to protect their

interests.



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       175.    The Defendants have acted or refused to act on grounds generally applicable to all

members of the Class, thereby making appropriate final injunctive relief or corresponding

declaratory relief with respect to the Class as a whole.

       176.    Accordingly, class certification is appropriate under Rule 23(b)(1)(A),

23(b)(1)(B), 23(b)(2) and 23(b)(3).

                                     COUNT I
                        CITY OF ROCKFORD v. EXPRESS SCRIPTS
                                UNJUST ENRICHMENT

       177.    Rockford hereby incorporates by reference the averments of the foregoing

paragraphs as if fully set forth herein and further alleges as follows.

       178.    This Count alleges unjust enrichment against Express Scripts.

       179.    Rockford agreed to retain Express Script’s services exclusively and in good faith

and in reasonable reliance on Express Script’s conduct and representations described herein.

       180.    Among other things, Rockford at all times had a reasonable expectation that

Express Scripts’ conduct would result in affordable services, including “cost containment” for

specialty drugs like Acthar.

       181.    Rockford and its beneficiaries made direct payments to Express Scripts which

were valuable to Express Scripts, and Express Scripts was unjustly enriched by such direct

payments, in that, the reimbursement rates charged by Express Scripts at extremely high prices

with inequitable discounts were valuable and beneficial to Express Scripts.

       182.    By engaging in the conduct described in this Second Amended Class Action

Complaint, Express Scripts has knowingly obtained benefits from Rockford and the Class,

namely grossly inflated revenue from its direct involvement in coordinating all aspects of

Rockford’s receipt of and payments for Acthar, under circumstances such that it would be



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inequitable and unjust for Express Scripts to retain such benefits.

       183.    By engaging in the unlawful conduct described herein, Express Scripts has been

knowingly enriched by the amount charged for Acthar over and above what it could have

charged in a competitive market, wherein Express Scripts would use its market power to extract

lower prices from Mallinckrodt, in fulfillment of its obligation to contain costs, what it could

have charged if it had engaged in appropriate cost containment measures.

       184.    By assisting Mallinckrodt in maintaining and enhancing its monopoly, and its

exercise of monopoly power through increasing prices over a decade, and engaging in other

unlawful acts and practices, Express Scripts was able to extract exorbitant revenue from

Rockford and the Class beyond what it could have received in the absence of such unlawful

conduct. This conduct violated the federal and state antitrust laws, federal RICO and state

consumer fraud and antitrust laws, as well as the common law of Illinois and other states and, as

such, interfered with the legally protected interests of Rockford and the Class.

       185.    Rockford and each member of the Class are therefore entitled to an award of

compensatory damages in an amount to be determined at trial, or the imposition of a constructive

trust upon the monies derived by the Defendants by means of the above-described actions.

       WHEREFORE, Rockford demands that judgment be entered in its favor, and in favor of

the Class, and against Express Scripts, in an amount to be determined at trial, including but not

limited to costs, attorneys’ fees, and such other relief deemed just and appropriate by this Court.

                                     COUNT II
                        CITY OF ROCKFORD v. MALLINCKRODT
                                UNJUST ENRICHMENT

       186.    Rockford hereby incorporates by reference the averments of the foregoing

paragraphs as if fully set forth herein and further alleges as follows.



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       187.    This Count alleges unjust enrichment against Mallinckrodt.

       188.    Rockford’s covered beneficiaries received direct shipments of Acthar from

Mallinckrodt via its exclusive distribution mechanism established with Express Scripts. In

exchange for such Acthar, Rockford made direct payments to Express Scripts for the benefit of

Mallinckrodt. Indeed, such payments were transferred by Express Scripts to Mallinckrodt

pursuant to an understanding between the two that the total amount would be forwarded to

Mallinckrodt, less a certain amount previously agreed to by Mallinckrodt and Express Scripts.

The amount charged by Mallinckrodt for the Acthar was the amount paid by Rockford, pursuant

to its agreement with Express Scripts.

       189.    The amounts paid by Rockford were valuable to Mallinckrodt and Mallinckrodt

was unjustly enriched by such direct payments, in that, the reimbursement rates charged by

Mallinckrodt at extremely high prices were valuable and beneficial to Mallinckrodt.

       190.    By engaging in the conduct described in this Second Amended Class Action

Complaint, Mallinckrodt has knowingly obtained benefits from Plaintiffs and the Class, namely

grossly inflated revenue from its direct involvement in coordinating all aspects of Rockford’s

receipt of and payments for Acthar, under circumstances such that it would be inequitable and

unjust for Mallinckrodt to retain such benefits.

       191.    By engaging in the unlawful conduct described herein, Mallinckrodt has been

knowingly enriched by the amount charged for Acthar over and above what it could have

charged in a competitive market and what it could have charged if it had engaged in appropriate

cost containment measures.

       192.    By maintaining and enhancing its monopoly, and its exercise of monopoly power

through increasing prices over a decade, and engaging in other unlawful acts and practices,



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Mallinckrodt was able to extract exorbitant revenue from Rockford and the Class beyond what it

could have received in the absence of such unlawful conduct. This conduct violated the federal

and state antitrust laws, federal RICO and state consumer fraud and antitrust laws, as well as the

common law of Illinois and other states and, as such, interfered with the legally protected

interests of Rockford and the Class.

       193.    Rockford and each member of the Class are therefore entitled to an award of

compensatory damages in an amount to be determined at trial, or the imposition of a constructive

trust upon the monies derived by the Defendants by means of the above-described actions.

       WHEREFORE, Rockford demands that judgment be entered in its favor, and in favor of

the Class, and against Mallinckrodt, in an amount to be determined at trial, including but not

limited to costs, attorneys’ fees, and such other relief deemed just and appropriate by this Court.

                                       COUNT III
                               ACUMENT v. MALLINCKRODT
                                  UNJUST ENRICHMENT

       194.    Plaintiffs hereby incorporate by reference the averments of the foregoing

paragraphs as if fully set forth herein and further alleges as follows.

       195.    This Count alleges unjust enrichment against Mallinckrodt.

       196.    Acument’s covered beneficiary received direct shipments of Acthar from

Mallinckrodt via CVS Caremark. In exchange for Acthar, Acument made direct payments to

CVS Caremark for the benefit of Mallinckrodt. Indeed, such payments were transferred by CVS

Caremark to Mallinckrodt pursuant to a likely understanding between the two that the total

amount would be forwarded to Mallinckrodt, less a certain amount previously agreed to by

Mallinckrodt and CVS Caremark. The amount charged by Mallinckrodt for the Acthar was the

amount paid by Acument, less any applicable co-pays by the beneficiary.



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       197.    The amounts paid by Acument were valuable to Mallinckrodt and Mallinckrodt

was unjustly enriched by such payments, in that, the prices charged by Mallinckrodt at extremely

high prices were valuable and beneficial to Mallinckrodt.

       198.    By engaging in the conduct described in this Second Amended Class Action

Complaint, Mallinckrodt has knowingly obtained benefits from Plaintiffs and the Class, namely

grossly inflated revenue from its coordination all aspects of Acument’s receipt of and payments

for Acthar, under circumstances such that it would be inequitable and unjust for Mallinckrodt to

retain such benefits.

       199.    By engaging in the unlawful conduct described herein, Mallinckrodt has been

knowingly enriched by the amount charged for Acthar over and above what it could have

charged in a competitive market.

       200.    Mallinckrodt was able to extract exorbitant revenue from Acument and the Class

beyond what it could have received in the absence of such unlawful conduct. This conduct

violated the federal and state antitrust laws, federal RICO and state consumer fraud and antitrust

laws, as well as the common law of Tennessee and other states and, as such, interfered with the

legally protected interests of Acument and the Class.

       201.    Acument and each member of the Class are therefore entitled to an award of

compensatory damages in an amount to be determined at trial, or the imposition of a constructive

trust upon the monies derived by the Defendants by means of the above-described actions.

       WHEREFORE, Acument demands that judgment be entered in its favor, and in favor of

the Class, and against Mallinckrodt, in an amount to be determined at trial, including but not

limited to costs, attorneys’ fees, and such other relief deemed just and appropriate by this Court.




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                                        COUNT IV
                               PLAINTIFFS v. ALL DEFENDANTS
                                          FRAUD

          202.   Plaintiffs hereby incorporate by reference the averments of the foregoing

paragraphs as if fully set forth herein and further allege as follows.

          203.   Defendants’ acts violate the common law against negligent misrepresentation and

fraud.

          204.   In setting the prices for Acthar, which prices Plaintiffs paid, the Defendants made

material misrepresentations that those prices represented a calculation of real and fact-based

prices for their drugs, and that they represented the actual value of the product in the

marketplace.

          205.   These representations were material to the transactions at hand in that Plaintiffs

and the Class used and relied upon these prices as the amount to pay and/or reimburse for

Acthar.

          206.   As set forth more fully above, these prices were artificial prices, unrelated to any

actual, reasonable price in the marketplace, or actual value of Acthar, but created and

manipulated by the Defendants for the purpose of generating exorbitant revenue, thus

constituting false representations which the Defendants knew or, in the absence of recklessness,

should have known to be false.

          207.   The Defendants made these false representations about the prices of Acthar with

the intent of misleading Plaintiffs and the Class into relying on the prices as real and fact-based

prices, rather than artificially inflated prices.

          208.   Plaintiffs and the Class justifiably relied upon these false misrepresentations in

purchasing and/or reimbursing Acthar at the amount charged by Express Scripts and CVS



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Caremark based on the price set by Mallinckrodt.

       209.    Rockford’s and the Class’ contracts with Express Scripts all provide for “cost

containment” and all provide for discounted prices for specialty drugs at varying rates, intended

to reflect the efforts of Express Scripts to provide cost containment. The prices for Acthar set

forth in such contracts were prices set by Mallinckrodt and set forth by Express Scripts in its

contracts. Acument’s and the Class’ contracts with CVS Caremark also provide for cost

containment, and the prices for Acthar in such contracts were the prices set by Mallinckrodt. As

such, all Defendants communicated these false prices directly to Plaintiffs and the Class for the

Acthar sold.

       210.    As a direct and proximate result of the false representations of the Defendants, as

set forth above, Plaintiffs and the Class were harmed in that they were unaware of the artificial,

inflated prices of Acthar, would not have paid and/or reimbursed the artificially inflated prices

for Acthar had they known of the false representations and, in fact, overpaid for the Acthar

because of the false representations.

       WHEREFORE, Plaintiffs demand that judgment be entered in their favor, and in favor

of the Class, and against Defendants, in an amount to be determined at trial, including but not

limited to costs, attorneys’ fees, and such other relief deemed just and appropriate by this Court.

                                   COUNT V
                         PLAINTIFFS v. ALL DEFENDANTS
                   CONSPIRACY TO DEFRAUD/CONCERTED ACTION

       211.    Plaintiffs hereby incorporate by reference the averments of the foregoing

paragraphs as if fully set forth herein and further allege as follows.

       212.    As set forth more fully above, beginning at least as early as 2007, the exact date

being unknown to Plaintiffs, and continuing thereafter until the present, Defendants and other



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unnamed co-conspirators, between and among themselves and others, entered into an agreement

and/or otherwise engaged in a continuing conspiracy to defraud and deceive Plaintiffs and the

Class by causing them to pay more for Acthar than they otherwise would have paid in the

absence of the Defendants’ conspiracy and concerted action.

       213.    Pursuant to the unfair and deceptive scheme to distribute, market and sell Acthar

to derive substantial profits, and the conspiracy alleged herein, and in furtherance thereof,

Defendants and their co-conspirators engaged in a wide range of activities, the purpose and

effect of which was to deceive Plaintiffs and the Class, and acted or took substantial steps in

furtherance of the conspiracy. Those acts include the following:

               a. discussing and agreeing among themselves and with their co-conspirators that
                  they would directly control the price at which Plaintiffs and the Class paid for
                  Acthar;

               b. discussing and agreeing among themselves and with their co-conspirators that
                  they would increase the price at which Plaintiffs and the Class paid for
                  Acthar;

               c. discussing and agreeing among themselves and with their co-conspirators that
                  they would directly control the ASAP program materials and website which
                  enrolled patients into an exclusive distribution network for the administration
                  of Acthar, allowing Defendants to conduct their unfair pricing scheme for
                  Acthar;

               d. discussing and agreeing among themselves and with their co-conspirators that
                  they would directly control the exclusive distribution network for Acthar
                  through the ASAP Program;

               e. discussing and agreeing among themselves and with their co-conspirators that
                  they would rely on employees to promote the ASAP Program through the
                  marketing alleged herein, and through use of the mail and the wires;

               f. discussing and agreeing among themselves and with their co-conspirators that
                  they would participate in the affairs of the ASAP program by using a
                  fraudulent scheme to market and sell Acthar at inflated prices; and

               g. discussing and agreeing among themselves and with their co-conspirators that
                  they would conceal and suppress the truth about the Acthar inflated prices, the


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                   monies earned from payors, like Plaintiffs and the Class, and their exclusive
                   arrangement to maintain and enhance Mallinckrodt’s monopoly power as
                   alleged herein.

        214.   In addition to the specific facts set forth above, it is alleged the Defendants and

their co-conspirators engaged in conspiratorial meetings, among the purposes of which meetings

were to discuss the importance of controlling the direct distribution, marketing, sale and

administration of Acthar to Plaintiffs and the Class, and deriving substantial profits from these

activities.

        215.   The Defendants performed the conspiratorial acts set forth herein intending to

injure payors of Acthar, like Plaintiffs and the Class, by causing them to pay inflated prices so

that the Defendants could derive substantial profits.

        216.   The Defendants performed the acts alleged herein in furtherance of the common

plan or design for the conspiracy with intent and/or with knowledge of the injury and damage it

would cause to the Plaintiffs and the Class, and with knowledge and intent to cause such injuries

and/or with reckless disregard for the consequences.

        217.   As a direct and proximate result of the Defendants’ conspiracy as alleged herein,

Plaintiffs and the Class have been injured and damaged, and the Defendants are jointly and

severally liable for such injuries and damages.

        WHEREFORE, Plaintiffs demand that judgment be entered in their favor, and in favor

of the Class, and against Defendants, in an amount to be determined at trial, including but not

limited to costs, attorneys’ fees, and such other relief deemed just and appropriate by this Court.

                                   COUNT VI
                          PLAINTIFFS v. ALL DEFENDANTS
                       MAINTENANCE OF MONOPOLIZATION OF
                          THE ACTH MARKET (15 U.S.C. § 2)

        218.   Plaintiffs hereby incorporate by reference the averments of the foregoing


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paragraphs as if fully set forth herein and further allege as follows.

       219.    Mallinckrodt has, and at all relevant times, had, monopoly power in the market

for the sale of ACTH drugs in the United States. While the genesis of this monopoly power may

be natural, since 2007 Mallinckrodt has acted and conspired with Express Scripts to maintain and

enhance its monopoly power in the ACTH market.

       220.    As described above, Acthar’s value was limited because it was the “gold

standard” for treating only one condition, infantile spasms (“IS”). IS is a serious condition in

infants, but one with an annual patient population of less than 2,000 patients per year. However,

by 2015, Mallinckrodt was able to grow sales of Acthar to approximately $1.1 billion.

       221.    In 2007, Mallinckrodt announced a “New Strategy” in order to maintain and

enhance its monopoly. This new strategy could not have succeeded without the involvement of

Express Scripts as Mallinckrodt’s exclusive agent.

                         Anticompetitive Act 1: Restricted Distribution

       222.    On July 2, 2007, Mallinckrodt decided to restrict distribution from three

wholesalers, termed Wholesalers “A”, “B”, and “C” in its 2007 10-K, to Express Scripts. The

goal of this strategy was to lock patients into receiving Acthar through one channel and prevent a

competitive product from entering the market.

       223.    When Mallinckrodt began its new strategy on July 16, 2007, it established the

ASAP Program. See Exhibit “B”. July 2, 2007 Urgent Product Alert H.P. Acthar Gel. The

ASAP Program allowed Mallinckrodt to limit its direct distribution of the drug to the patient to

just one avenue, through Express Scripts. Mallinckrodt entered an exclusive arrangement with

Express Scripts to provide Acthar directly to patients, and to receive payments for Acthar

directly from patients. See Freudenheim, supra.



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       224.    Express Scripts was Mallinckrodt’s exclusive agent to operate the ASAP

Program. Through ASAP, UBC facilitated all aspects of Acthar’s distribution and payment as

Mallinckrodt’s exclusive agent. UBC’s utilized Express Script’s pharmacy arrangement services

(Accredo), specialty drug distribution (CuraScript) and direct billing and payment (ESI)

functions to allow Mallinckrodt to maintain and enhance its monopoly power in the ACTH

market.

       225.    Mallinckrodt has willfully maintained its monopoly power in the ACTH drug

market through its exclusive arrangement with Express Scripts from 2007 through 2017. Having

Express Scripts as its exclusive agent, Mallinckrodt was able to raise its prices tenfold initially,

and nearly double in the ensuing years.

                       Anticompetitive Act 2: The Synacthen Acquisition

       226.    By 2013, Mallinckrodt had identified a competitive threat to its monopoly power,

despite its exclusive arrangements with Express Scripts. When Novartis decided to sell

Synacthen Depot to a competitor, Mallinckrodt acted to protect its monopoly. Recognizing that

the entry of Synacthen to the ACTH market would threaten its monopoly power, Mallinckrodt

first attempted to buy the rights to Synacthen in 2009, it was unable to do so.

       227.    When Novartis agreed to sell Synacthen to Retrophin in 2013, Mallinckrodt

disrupted the bidding process for Synacthen by intervening at the last minute to pay multiple

times what had been offered by Retrophin. Retrophin had agreed to buy Synacthen for $16

million, Mallinckrodt paid $135 million. It licensed the U.S. rights to Synacthen from Novartis,

but did not bring this viable synthetic alternative to market. Instead, it acted only to eliminate

the nascent competitive threat to its monopoly posed by an independently owned Synacthen.

       228.    This conduct contributed to Mallinckrodt’s maintenance of monopoly power.



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Both anticompetitive acts – the exclusive arrangement with Express Scripts and the Synacthen

acquisition had the purpose and effect of suppressing rather than promoting competition in the

ACTH market. Mallinckrodt was able to raise prices at will.

       229.    Mallinckrodt used its enhanced monopoly power to inflate the prices of Acthar as

set forth herein. Today the prices stand at over $43,000.

       230.    The challenged conduct caused Plaintiffs and the Class to pay artificially inflated

prices for Acthar in the ACTH drug market.

       231.    There is no procompetitive justification for the conduct of Mallinckrodt and

Express Scripts. Rather these two companies combined to lock Acthar into a restricted

distribution model, overseen by the ASAP program, to ensure enhanced monopoly profits for

both of them. The Synacthen acquisition only prevented competition, and preserved the

enhanced monopoly power Mallinckrodt enjoyed due to Express Scripts’ collusion.

                    Plaintiffs are Direct Purchasers of Acthar Harmed by
                            Defendants’ Anti-Competitive Conduct

       232.    The Plaintiffs have been directly injured in their businesses and property by

reason of Mallinckrodt's unlawful monopolization in concert with Express Scripts. Plaintiffs’

injuries consist of paying higher prices to purchase Acthar than they would have paid absent the

conduct of Mallinckrodt and its exclusive agents, Express Scripts. Plaintiffs’ injuries are the

type of harm the antitrust laws were designed to prevent and flow from which makes

Mallinckrodt's and Express Scripts’ conduct unlawful.

       233.    The product ships from Mallinckrodt’s agent directly to the patient. Payments

flow directly from Rockford to Express Scripts, for the benefit of Mallinckrodt, from Acument to

CVS Caremark, for the benefit of Mallinckrodt. Express Scripts only deducts its agreed-upon

share of Rockford’s payments before forwarding them to Mallinckrodt. CVS Caremark does the


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same.

        234.   Plaintiffs are also direct purchasers because of the conspiracy between Express

Scripts and Mallinckrodt, as Rockford and Acument are direct purchasers from co-conspirators.

        235.   As described herein Defendants’ acts and practices constitute monopoly

maintenance in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2.

        WHEREFORE, Plaintiffs demand that judgment be entered in their favor, and in favor

of the Class, and against Defendants, in an amount to be determined at trial, including but not

limited to costs, attorneys’ fees, and such other relief deemed just and appropriate by this Court.

                                 COUNT VII
                        PLAINTIFFS v. ALL DEFENDANTS
               ANTI-COMPETITIVE AGREEMENTS IN UNREASONABLE
                       RESTRAINT OF TRADE (15 U.S.C. § 1)

        236.   Plaintiffs hereby incorporate by reference the averments of the foregoing

paragraphs as if fully set forth herein and further allege as follows.

        237.   As set forth above, Mallinckrodt has entered into exclusive agreements with the

agent for its largest customers, Express Scripts. These agreements preserved and extended

Mallinckrodt’s monopoly power, and allowed both Mallinckrodt and Express Scripts to raise the

prices for Acthar to Express Scripts’ clients, including Rockford.

                  The Role of Express Scripts in the Specialty Drug Market

        238.   The maintenance of Mallinckrodt’s monopoly over the ACTH market would not

be possible without its agreement in restraint of trade with Express Scripts.

        239.   Express Scripts is the largest buying agent of pharmaceuticals in the country. It

has substantial buying power as a result of its position as the largest representative of

pharmaceutical purchasers.

        240.   ESI has developed a consolidated network of specialty pharmaceutical


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management, distribution and reimbursement that creates a direct pipeline between the

manufacturer and the patient. Express Scripts operates a specialty pharmaceutical distributor, a

specialty pharmacy, and a reimbursement HUB, all of which operate in service of the specialty

drug manufacturer concomitantly with ESI’s service as a pharmacy benefit manager for health

plans and patients.

       241.     Because ESI represents more than 80% of pharmaceutical buyers in the United

States, it has the unique position to push back against high pharmaceutical prices, especially

specialty drugs like Acthar. Express Scripts has demonstrated its ability to wield its market

power to effectuate lower costs for high priced specialty drugs.

       242.     The example of Turing’s Daraprim is stark in that Express Scripts has produced a

comparable drug for $1. Instead of the $750.00 per pill charged by Turing, Express Scripts

charges its clients $1. Instead of one year’s course of treatment costing $361,000, it costs less

than $100.

             Express Scripts’ Agreement with Mallinckrodt to Fix Prices for Acthar

       243.     In 2007, when Express Scripts entered its exclusive arrangement with

Mallinckrodt’s predecessor Questor, it did not push back against Questcor’s decision to raise

prices. Instead, when confronted with the price increase, Dr. Miller asserted that “[t]he increase

was a manufacturing decision. I can’t comment on it.” Id.

       244.     There was no legitimate business justification on the part of Express Scripts to

agree to charge the inflated end payor prices set by Questcor to its clients, but it so agreed.

       245.     By 2015, Express Scripts contracted with Rockford to be its exclusive agent for

specialty drugs, including Acthar. But, Express Scripts accepted the inflated end payor prices set

by Mallinckrodt, and included them in the ESI PBM Agreement with Rockford.



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       246.    It is believed and therefore averred that when Acument contracted with CVS

Caremark for the provision of specialty drugs, like Acthar, to its employee beneficiaries, CVS

Caremark simply charged the same prices based on the prices set by Mallinckrodt in agreement

with Express Scripts, as the product continued to flow directly from Express Scripts to the

patients of other PBMs, like CVS Caremark. As a result, the Mallinckrodt-ESI agreement to fix

prices preserved and enhanced Mallinckrodt’s monopoly power and injured payors like Acument

being charged the same artificially inflated prices for Acthar.

       247.    As a result, Express Scripts conspired and agreed with Mallinckrodt to fix and

charge artificially inflated prices for Acthar to Express Scripts clients, like Rockford.

       248.    At all relevant times, Mallinckrodt's exclusive agreements with Express Scripts

assisted Mallinckrodt in: (a) effectively excluding less expensive, potentially superior

competitive products from the ACTH drug market; (b) maintaining Mallinckrodt's dominant

market share and monopoly power in the ACTH drug market; (c) maintaining prices at

artificially high levels for Acthar; and (d) otherwise reaping the benefits of its Mallinckrodt’s

enhanced monopoly power.

       249.    There is no procompetitive justification for the conduct of either Mallinckrodt or

Express Scripts.

       250.    Plaintiffs have been injured in their businesses and property by reason of the

alleged collusion and conspiracy between Mallinckrodt and Express Scripts, its exclusive agent,

which had the purpose and effect of raising and stabilizing inflated prices for Acthar. Express

Scripts facilitated, enabled, assisted, and furthered Mallinckrodt's substantial foreclosure and

exclusion of competition and monopolization of the ACTH drug market.

       251.    Plaintiffs’ injuries consist of paying higher prices to purchase Acthar than they



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would have paid absent the unlawful conduct of Mallinckrodt and Express Scripts. Plaintiffs’

injuries are the type the antitrust laws were designed to prevent and flow from that which makes

Defendants`’ conduct unlawful.

       252.    Defendants’ acts and practices constitute anti-competitive agreements in

unreasonable restraint of trade in violation of Section 1 of the Sherman Act, 15 U.S.C. §1.

       WHEREFORE, Plaintiffs demand that judgment be entered in its favor, and their favor

of the Class, and against Defendants, in an amount to be determined at trial, including but not

limited to costs, attorneys’ fees, and such other relief deemed just and appropriate by this Court.

                                      COUNT VIII
                             PLAINTIFFS v. ALL DEFENDANTS
                             STATE ANTITRUST LAW CLAIMS

       253.    Plaintiffs hereby incorporate by reference the averments of the foregoing

paragraphs as if fully set forth herein and further allege as follows.

       254.    In the event the Court finds the Acthar purchases of either Plaintiff were indirect

as to Mallinckrodt, they remain direct as to Express Scripts, and Plaintiffs’ aforesaid federal

antitrust claims may be maintained against Express Scripts. In such event, alternatively,

Plaintiffs and the Class seek relief as indirect purchasers as allowed by state and federal law.

Under federal antitrust law, as indirect purchasers, Plaintiffs and the Class are allowed to seek an

injunction against both Mallinckrodt and Express Scripts for their anticompetitive conduct.

       255.    Under the statutory and decisional law of the states identified below, Plaintiffs

and the Class are also permitted to seek damages as indirect purchasers against Defendants,

including but not limited to the laws of Illinois and Tennessee where the patients covered by

Plaintiffs reside and were treated.

       256.    Plaintiffs set forth the following allegations in this state law-related section such



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that each and every allegation as to the factual basis for the violation of the law of one state, no

matter where it appears, is incorporated by reference as support for the violation of the law of

every state identified herein. Plaintiffs also incorporate the preceding factual allegations of

antitrust conduct by the Defendants.

       257.    Illinois: 740 ILCS 10/7(2) authorizes any person, including municipalities,

townships, and any other political subdivision to seek an injunction, damages, and reasonable

attorneys fees to prevent and ameliorate the anticompetitive conducted described herein.

       258.    The acts and circumstances described herein demonstrate that Mallinckrodt and

Express Scripts acted willfully within the meaning of 740 ILCS 10/7(2), such that Plaintiffs and

the class may be awarded treble damages.

       259.    Rockford is a political subdivision within the meaning of 740 ILCS 10/7(2) and is

therefore a person within the ambit of the statute. Acument is a corporation doing business in

Illinois, and made payments for Acthar out of Illinois, and is therefore a “person” within the

ambit of the Illinois law. Plaintiffs and the Class were injured as a result of Defendants’ conduct

in violation of Illinois law, and hereby seek damages.

       260.    Tennessee: The Tennessee Unfair Trade Practices Act declares unlawful and void

“[a]ll arrangements, contracts, agreements, trusts or combinations between persons or

corporations designed, or which tend, to advance, reduce, or control the price or the cost to the

producer or the consumer of any such product or article.” Tenn. Code Ann. § 47-25-101. Persons

injured may recover “the full consideration or sum… for any goods, wares, merchandise, or

articles, the sale of which is controlled by such combination or trust.” Tenn. Code Ann. § 47-25-

106. In Sherwood v. Microsoft Corp., 2003 WL 21780975, *29 (Tenn. Ct. App. July 31, 2003),

the Tennessee Court of Appeal held that indirect purchasers have standing to bring an action



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under the Act to recover damages resulting from price-fixing. See Freeman Indus. LLC v.

Eastman Chem Co., 172 S. W.3d 512, 519 (Tenn. 2005).

       261.    Tennessee municipalities and TPPs, like Acument, have standing to sue within the

meaning of Tenn. Code Ann. § 47-25-106. See Metro. Gov’t of Nashville & Davidson Cnty. v.

Ashland Oil, Inc., 535 F. Supp. 328 (M.D. Tenn. 1982).

       262.    As described in this Complaint, Mallinckrodt and Express Scripts agreed to

maintain the supracompetitive price of Acthar through the ASAP Program, limiting distribution

of the drug and stifling the ability of a competitor to enter the ACTH market. Further, to

maintain these supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct caused

Tennessee municipalities and TPPs, like Acument, to pay prices for Acthar significantly greater

than in a competitive market. Therefore, Tennessee municipalities and TPPs are entitled to relief

under Tennessee law.

       263.    Acument and the Class were injured as a result of Defendants’ conduct in

violation of Tennessee law, and hereby seek damages.

       264.    Arizona: The Arizona Uniform Antitrust Act, A.R.S. § 44-1401, et seq., makes

unlawful any “contract, combination, or conspiracy between two or more persons in restraint of,

or to monopolize, trade or commerce” and confers standing to persons and political subdivisions

as indirect purchasers to bring an action for damages, injunctive relief, and attorneys fees and

costs. A.R.S. §§ 44-1402, 1408.

       265.    Plaintiffs bring this action on behalf of all third party payors (“TPP”), cities,

towns, municipalities, and any other state political subdivision (collectively, “municipality”) that

has paid for prescriptions of Acthar. The TPP purchasers of Acthar in Arizona have standing as

a class to seek relief against Mallinckrodt and Express Scripts for their scheme to fix the price of



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Acthar at supracompetitve levels and maintain Mallinckrodt’s monopoly power.

        266.    Plaintiffs and the Class were injured as a result of Defendants’ conduct in

violation of Arizona law, and hereby seek damages.

        267.    Arkansas: The Arkansas Deceptive Trade Practices Act forbids “[d]eceptive and

unconscionable trade practices.” A.C.A. § 4-88-107(a). It makes illegal “any [] unconscionable,

false, or deceptive act or practice in business, commerce, or trade.” A.C.A. § 4-88-107(a)(10).

Courts have recognized a private right of action for indirect purchasers in antitrust actions. The

improper use of economic leverage qualifies as one such unconscionable business practice.

        268.    Plaintiffs and the Class were injured as a result of Defendants’ conduct in

violation of Arkansas law, and hereby seek damages.

        269.    California: California’s antitrust law, the Cartwright Act, prohibits combinations

between two or more persons to “[a]gree in any manner to keep the price of [a product] . . . at a

fixed or graduated figure,” or to “[e]stablish or settle the price of any [product] . . . , so as

directly or indirectly to preclude a free and unrestricted competition among themselves, or any

purchasers or consumers in the sale or transportation of [the product].” Cal. Bus. & Prof. Code §

16720(e)(2)-(3). Price-fixing is considered a business practice that, due to its pernicious effect

on competition and lack of any redeeming virtue is conclusively presumed to be unreasonable

and, therefore, illegal without elaborate inquiry as to the precise harm it has caused or the

business excuse for its use.

        270.    California TPPs and municipalities are persons within the meaning of Section

16750 and 16702.

        271.    As alleged in greater detail herein, California TPPs and municipalities suffered

economic injury due to Mallinckrodt’s and Express Scripts’ maintenance of monopoly prices.



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       272.    The facts alleged herein establish that California TPPs and municipalities were

injured in their property by paying exorbitant prices above what would be paid in a freely

competitive market.

       273.    Mallinckrodt and Express Scripts created restrictions on trade and commerce

through the creation of the exclusive arrangement for Acthar.

       274.    Mallinckrodt and Express Scripts agreed to raise the prices of Acthar.

       275.    Plaintiffs and the Class were injured as a result of Defendants’ conduct in

violation of California law, and hereby seek damages.

       276.    Florida: The Florida Deceptive and Unfair Trade Practices Act is designed to

protect “the consuming public from those who engage in unfair methods of competition, or

unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce,”

and mandates that the act be liberally construed to promote that policy. F.S.A. § 501.202.

Florida courts have interpreted this law “as a clear statement of legislative policy to protect

consumers through the authorization of [] indirect purchaser actions.” Mack v. Bristol Meyers

Squibb, 673 So. 2d 100, 108 (Fla. 1st D.C.A. 1996).

       277.    As set forth herein, Florida municipalities and TPPs act as fiduciaries for their

employees who receive prescription and health benefits through the TPP or municipality . As

such, they are consumers within the meaning of Fla. Stat. § 501.203(7).

       278.    As consumers, Florida TPPs and municipalities have suffered losses as a result of

the anticompetitive conduct of Mallinckrodt and Express Scripts. Therefore, Florida TPPs and

municipalities may recover their actual damages and their attorneys’ fees and costs.

       279.    Plaintiffs and the Class were injured as a result of Defendants’ conduct in

violation of Florida law, and hereby seek damages.



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       280.      Hawaii: Hawaii has declared unlawful “[e]very contract, combination in the form

of trust or otherwise, or conspiracy, in restraint of trade or commerce,” including one that seeks

to “f]ix, control, or maintain, the price of any commodity” or engage in activities “with the

result of fixing, controlling or maintaining its price.” Haw. Rev. Stat. §§ 480-4(a)-(b).

       281.      In addition, Hawaii law provides that “indirect purchasers injured by an illegal

overcharge shall recover [] compensatory damages, and reasonable attorney’s fees.”

       282.      Hawaii municipalities and TPPs are persons within the meaning of Haw. Rev.

Stat. § 480-1.

       283.      As articulated herein, Mallinckrodt possessed monopoly power in the ACTH

market. Acting in concert with Express Scripts, Mallinckrodt willfully enhanced its monopoly

power by limiting the distribution of Acthar and acquiring Synacthen. This conduct allowed

Mallinckrodt to set the prices for Acthar far higher than the value of the product thus injuring

Hawaii municipalities and TPPs. Express Scripts agreed to charge these inflated prices to its

clients. Accordingly, Hawaii municipalities and TPPs are entitled to relief under Hawaii law.

       284.      Plaintiffs and the Class were injured as a result of Defendants’ conduct in

violation of Hawaii law, and hereby seek damages.

       285.      Iowa: The Iowa Competition Law prohibits the “attempt to establish, maintain, or

use a monopoly of trade or commerce in a relevant market for the purpose of excluding

competition or of controlling, fixing or maintaining prices.” Iowa Code § 553.5.

       286.      Iowa Code § 553.12 authorizes any “person who is injured or threatened with

injury” to sue to “[p]revent or restrain conduct. . . through injunction,” to “[r]ecover actual

damages resulting from” prohibited conduct, the costs of suit, and reasonable attorney fees.

Iowa Code § 553.12. When the prohibited conduct is willful, a person may recover twice their



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damages. Id.

         287.   Iowa TPPs and municipalities are persons within the meaning of Iowa Code §

553.3.

         288.   The facts and circumstances described herein demonstrate that Mallinckrodt and

Express Scripts acted willfully in their exclusive arrangement, injuring Iowa TPPs and

municipalities through the maintenance and enhancement of monopoly prices for Acthar.

         289.   Plaintiffs and the Class were injured as a result of Defendants’ conduct in

violation of Iowa law, and hereby seek damages.

         290.   Kansas: Kan. Stat. Ann. § 50-101 outlaws any “combination of capital, skill, or

acts, by two or more persons” carried out for the purpose of restricting trade or commerce;

increasing or reducing the price of goods; or preventing competition. Kan. Stat. Ann. § 50-101.

In addition, “all arrangements, contracts, agreements, trusts or combinations between persons,

designed or which tend to advance, reduce or control the price or the cost to the producer or to

the consumer of any such products or articles” are unlawful under Kansas law. Kan. Stat. Ann. §

50-112. Under Kansas law, any person who has suffered a financial loss, “regardless of whether

such injured person dealt directly or indirectly with the defendant” may sue. Kan. Stat. Ann. §

50-163(d)(2).

         291.   As described herein, Mallinckrodt and Express Scripts entered into exclusive

arrangements that raised and maintained monopoly prices for Acthar and restrained competitors

from entering the ACTH market, causing Kansas municipalities and TPPs to overpay for Acthar.

         292.   Plaintiffs and the Class were injured as a result of Defendants’ conduct in

violation of Kansas law, and hereby seek damages.

         293.   Massachusetts: Massachusetts’ unfair and deceptive trade practices statute



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declares as unlawful “[u]nfair methods of competition and unfair or deceptive acts or practices in

the conduct of any trade or commerce.” Mass. Gen. Laws, c. 93A, § 2(a). Massachusetts law

allows both consumers and participants in trade or commerce to bring claims for actual damages,

multiple recovery for willful violations and attorneys’ fees for a prevailing plaintiffs. See Mass.

Gen. Laws, c. 93A, §§ 9, 11. The Massachusetts Supreme Court “read[s] the language of G.L. c.

93A as a clear statement of legislative policy to” allow indirect purchasers to seek relief for

antitrust conduct. Ciardi v. F. Hoffmann-La Roche, Ltd., 436 Mass. 53, 66-67 (2002).

       294.    Massachusetts TPPs and municipalities qualify as consumers or participants in

trade in commerce within the meaning of Mass. Gen. Laws, c. 93A.

       295.    Within respect to the injuries suffered by Massachusetts TPPs and municipalities

only, the majority of the injurious conduct occurred within Massachusetts.

       296.    As alleged in this Complaint, the facts and circumstances demonstrate that

Mallinckrodt and Express Scripts acted willfully within the meaning of Mass. G.L. c. 93A

entitling Massachusetts TPPs and municipalities to multiple damages for the maintenance of the

Acthar monopoly through their exclusive arrangement and the Synacthen acquisition. Therefore,

Massachusetts municipalities and TPPs are entitled to relief under Massachusetts law.

       297.    Plaintiffs and the Class were injured as a result of Defendants’ conduct in

violation of Massachusetts law, and hereby seek damages.

       298.    Michigan: The Michigan Antitrust Reform Act deems any “contract, combination,

or conspiracy between 2 or more persons in restraint of, or to monopolize, trade or commerce in

a relevant market [] unlawful.” MCLS § 445.772. In addition, it prohibits the “establishment,

maintenance, or use of a monopoly, or any attempt to establish a monopoly, of trade or

commerce in a relevant market by any person, for the purpose of excluding or limiting



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competition or controlling, fixing, or maintaining prices.” MCLS § 445.773. It allows any

political subdivision or person “threatened with injury or injured . . . indirectly” to seek

injunctive or equitable relief, damages, interest, costs, and attorneys fees for a violation of the

Act.

       299.     Michigan municipalities and TPPs are units of government or persons within the

meaning of MCLS § 445.771.

       300.    Mallinckrodt and Express Scripts are persons within the meaning of MCLS §

445.771.

       301.    The facts and circumstances, as articulated in this complaint, demonstrate that

Mallinckrodt and Express Scripts agreed to maintain and enhance Mallinckrodt’s monopoly in

the ACTH market through their exclusive arrangement and the Synacthen acquisition. This

conduct resulted in Michigan municipalities and TPPs paying far more than they would in a

competitive market for Acthar. Therefore, Michigan municipalities and TPPs are entitled to relief

under the Michigan Antitrust Reform Act.

       302.    Plaintiffs and the Class were injured as a result of Defendants’ conduct in

violation of Michigan law, and hereby seek damages.

       303.    Minnesota: Under Minnesota law, “[a] contract, combination or conspiracy

between two or more persons in unreasonable restraint of trade or commerce is unlawful.”

Minn. Stat. § 325D.51. In addition, section 325D.53 prohibits the maintenance or use of

monopoly power to affect competition or control, fixe or maintain prices. See Minn. Stat ¶

325D.52. By law, “any person . . . injured directly or indirectly by a violation of [section

325D.51] shall recover three times the actual damages sustained, together with costs and

disbursements, including reasonable attorneys’ fees.” Minn. Stat. § 325D.57. “Minnesota



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antitrust law expressly provides damages for indirect purchasers injured by antitrust violations.”

Gordon v. Microsoft Corp., 2001 WL 366432, at *2 (Minn. Dist. Ct. Mar. 30, 2001); see also,

Lorix v. Crompton Corp., 736 N.W.2d 619 (Minn. 2007).

       304.    Acthar is a commodity within the meaning of Minn. Stat. § 325D.50.

       305.    The exclusive arrangement between Mallinckrodt and Express Scripts represents

a contract, combination, or conspiracy within the meaning of Minn. Stat. § 325D.50.

       306.    Minnesota municipalities and TPPs are persons within the meaning of Minn. Stat.

§ 325D.50 with standing to seek relief from the anticompetitive practices of Mallinckrodt and the

ESI Defendants.

       307.    As described in this Complaint, Mallinckrodt and Express Scripts agreed to

maintain the supracompetitive prices of Acthar through the ASAP Program, limiting distribution

of the drug and stifling the ability of a competitor to enter the ACTH market. Further, to

maintain these supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct caused

Minnesota municipalities and TPPs to pay prices for Acthar significantly greater than in a

competitive market. Therefore, Minnesota municipalities and TPPs are entitled to relief under

Minnesota law.

       308.    Plaintiffs and the Class were injured as a result of Defendants’ conduct in

violation of Minnesota law, and hereby seek damages.

       309.    Mississippi: Under Mississippi law trusts are unlawful, and this includes any

“combination, contract, understanding or agreement” that would be inimical to public welfare

and the effect of which would be . . . to restraint trade”, including any “increase . . . [on] the

price of a commodity.” Miss. Code. Ann. §§ 75-21-1(a)-(c).

       310.    Mississippi law allows any party injured by any aforementioned form of trust to



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seek their full damages and a civil penalty of $500.00 per injury, no matter whether they are a

direct or indirect purchaser. Miss. Code. Ann. § 75-21-9. As such Mississippi municipalities and

TPPs have standing to sue under Mississippi law.

       311.    As described in this Complaint, Mallinckrodt and Express Scripts agreed to

maintain the supracompetitive price of Acthar through the ASAP Program, limiting distribution

of the drug and stifling the ability of a competitor to enter the ACTH market. Further, to

maintain these supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct caused

Mississippi municipalities and TPPs to pay prices for Acthar significantly greater than in a

competitive market. Therefore, Mississippi municipalities and TPPs are entitled to relief under

Mississippi law.

       312.    Plaintiffs and the Class were injured as a result of Defendants’ conduct in

violation of Mississippi law, and hereby seek damages.

       313.    Nebraska: In Nebraska, the Junkin Act prohibits any “any “contract, combination

in the form of trust or otherwise, or conspiracy in restraint of trade of commerce” in Nebraska.

R.R.S. Neb. § 59-801. The Nebraska Consumer Protection Act, in relevant part, duplicates the

Junkin Act’s analogues of the Sherman Act and states that “Unfair methods of competition and

unfair or deceptive acts or practices in the conduct of any trade or commerce shall be unlawful . .

. . Any contract, combination, in the form of trust or otherwise, or conspiracy in restraint of trade

or commerce shall be unlawful.” R.R.S. Neb. §§ 59-1602-1603. Indirect purchasers injured by

price-fixing practices can sue for damages under both statutes, and recover the costs of suit and a

reasonable attorney’s fee. See R.R.S. Neb. § 59-821.

       314.    Nebraska municipalities are persons within the meaning of Section 59-822 and

have such have standing under the Junkin and Consumer Protection Acts.



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       315.     As described in this Complaint, Mallinckrodt and Express Scripts agreed to

maintain the supracompetitive price of Acthar through the ASAP Program, limiting distribution

of the drug and stifling the ability of a competitor to enter the ACTH market. Further, to

maintain these supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct caused

Nebraska municipalities and TPPs to pay prices for Acthar significantly greater than in a

competitive market. Therefore, Nebraska municipalities and TPPs are entitled to relief under

Nebraska law.

       316.     Plaintiffs and the Class were injured as a result of Defendants’ conduct in

violation of Nebraska law, and hereby seek damages.

       317.     Nevada: Nevada has declared several categories of activities that constitute a

“contract, combination or conspiracy in restraint of trade, including price fixing, which consists

of raising, depressing, fixing, pegging or stabilizing the price of any commodity or service.”

Nev. Rev. Stat. Ann. § 598A.060. In addition, Nevada provides a right of action and treble

damage remedy for “any person injured or damaged directly or indirectly” by an antitrust

violation. Nev. Rev. Stat. Ann. § 598A.210.

       318.     Nevada municipalities and TPPs have standing to seek relief under Nevada law.

       319.     As described in this Complaint, Mallinckrodt and Express Scripts agreed to

maintain the supracompetitive price of Acthar through the ASAP Program, limiting distribution

of the drug and stifling the ability of a competitor to enter the ACTH market. Further, to

maintain these supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct caused

Nevada municipalities and TPPs to pay prices for Acthar significantly greater than in a

competitive market. Therefore, Nevada municipalities and TPPs are entitled to relief under

Nevada law.



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          320.   Plaintiffs and the Class were injured as a result of Defendants’ conduct in

violation of Nevada law, and hereby seek damages.

          321.   New Mexico: The New Mexico Antitrust Act prohibits “[e]very contract,

agreement, combination or conspiracy in restraint of trade or commerce, any part of which trade

or commerce is within” New Mexico. N.M. Stat. Ann. § 57-1-1. Additionally, the statute

expressly provides that indirect purchasers who are “threatened with injury or injured” have

standing to assert a claim and “may bring an action for appropriate injunctive relief, up to

threefold the damages sustained and costs and reasonable attorneys’ fees.” N.M. Stat. Ann. § 57-

1-3(A).

          322.   New Mexico municipalities and TPPs have standing to sue under the New Mexico

Antitrust Act. See City of Sunland Park v. Macias, 75 P.3d 816 (N.M. Ct. App. 2003).

          323.   As described in this Complaint, Mallinckrodt and Express Scripts agreed to

maintain the supracompetitive price of Acthar through the ASAP Program, limiting distribution

of the drug and stifling the ability of a competitor to enter the ACTH market. Further, to

maintain these supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct caused

New Mexico municipalities and TPPs to pay prices for Acthar significantly greater than in a

competitive market. Therefore, New Mexico municipalities and TPPs are entitled to relief under

New Mexico law.

          324.   Plaintiffs and the Class were injured as a result of Defendants’ conduct in

violation of New Mexico law, and hereby seek damages.

          325.   New York: New York’s Donnelly Act declares that every contract, agreement,

arrangement or combination” that restrains, may restrain, or has for its purpose the restraint of

competition, the free exercise of any commercial activity, or the performance of a service to be



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unlawful. N.Y. Gen. Bus. Law § 340(1). Among other provisions, the Donnelly Act specifically

extends protection to indirect purchasers. See N.Y. Gen. Bus. Law § 340(6). The statute also

provides that a successful plaintiff “shall recover threefold the actual damages sustained

thereby,” as well as costs and attorneys’ fees. N.Y. Gen. Bus. Law § 340(5).

       326.    New York municipalities and TPPs have standing to sue under the Donnelly Act

because they are persons or political subdivisions within the meaning of N.Y. Gen. Bus. Law §§

340(5)-(6).

       327.     As described in this Complaint, Mallinckrodt and Express Scripts agreed to

maintain the supracompetitive price of Acthar through the ASAP Program, limiting distribution

of the drug and stifling the ability of a competitor to enter the ACTH market. Further, to

maintain these supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct caused

New York municipalities and TPPs to pay prices for Acthar significantly greater than in a

competitive market. Therefore, New York municipalities and TPPs are entitled to relief under

New York law.

       328.    Plaintiffs and the Class were injured as a result of Defendants’ conduct in

violation of New York law, and hereby seek damages.

       329.    North Carolina: North Carolina’s Monopolies, Trusts, and Consumer Protection

Act, N.C. Gen. Stat. §§ 75-1, et seq., declares any “conspiracy in restraint of trade or commerce”

illegal. N.C. Gen. Stat. § 75-1. To prevail under the Act, Plaintiffs must show: (1) defendants

committed an unfair or deceptive act or practice; (2) in or affecting commerce; and (3) that

plaintiff was injured thereby. Stetser v. TAP Pharmaceutical Products, Inc., 165 N.C. App. 1

(2004). “A trade practice is ‘unfair’ if it is immoral, unethical, oppressive, unscrupulous, or

substantially injurious to consumers”). The Act also provides standing for individual plaintiffs



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(§ 75-16), which right was specifically extended to indirect purchasers in Hyde v. Abbott Labs.,

123 N.C. App. 572, 584 (1996).

       330.    North Carolina municipalities and TPPs have standing as indirect purchasers.

       331.    As described in this Complaint, Mallinckrodt and Express Scripts agreed to

maintain the supracompetitive price of Acthar through the ASAP Program, limiting distribution

of the drug and stifling the ability of a competitor to enter the ACTH market. Further, to

maintain these supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct caused

North Carolina municipalities and TPPs to pay prices for Acthar significantly greater than in a

competitive market. Therefore, North Carolina municipalities and TPPs are entitled to relief

under North Carolina law.

       332.    Plaintiffs and the Class were injured as a result of Defendants’ conduct in

violation of North Carolina law, and hereby seek damages.

       333.    North Dakota: The North Dakota Antitrust Act provides that, “[a] contract,

combination, or conspiracy between two or more persons in restraint of, or to monopolize, trade

or commerce in a relevant market is unlawful.” N.D. Cent. Code § 51-08.1-02. The statute

expressly provides a cause of action for indirect purchasers, who may obtain injunctive relief and

recover damages. N.D. Cent. Code § 51-08.1-08.

       334.    North Dakota municipalities and TPPs have standing as indirect purchasers within

the meaning of N.D. Cent. Code § 51-08.1-08.

       335.    As described in this Complaint, Mallinckrodt and Express Scripts agreed to

maintain the supracompetitive price of Acthar through the ASAP Program, limiting distribution

of the drug and stifling the ability of a competitor to enter the ACTH market. Further, to

maintain these supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct caused



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North Dakota municipalities and TPPs to pay prices for Acthar significantly greater than in a

competitive market. Therefore, North Dakota municipalities and TPPs are entitled to relief

under North Dakota law.

         336.   Plaintiffs and the Class were injured as a result of Defendants’ conduct in

violation of North Dakota law, and hereby seek damages.

         337.   Oregon: Oregon’s Antitrust Law declares illegal “[e]very contract, combination in

the form of trust or otherwise, or conspiracy in restraint of trade or commerce”. Or. Rev. Stat.

Ann. § 646.725. In addition, Oregon provides a right of action and treble damages for antitrust

violation, “regardless of whether the plaintiff dealt directly or indirectly with the adverse party.”

Or. Rev. Stat. Ann. § 646.780(1)(a). In addition, indirect purchasers may recover “reasonable

attorney fees, expert witness fees and investigative costs.” Or. Rev. Stat. Ann. § 646.780(3)(a)-

(b)(A)

         338.   Oregon municipalities and TPPs fall within the meaning of political subdivision

and person as articulated in Or. Rev. Stat. Ann. § 646.780(1)(a), therefore they have standing to

sue regardless if they are indirect purchasers.

         339.   As described in this Complaint, Mallinckrodt and Express Scripts agreed to

maintain the supracompetitive price of Acthar through the ASAP Program, limiting distribution

of the drug and stifling the ability of a competitor to enter the ACTH market. Further, to

maintain these supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct caused

Oregon municipalities and TPPs to pay prices for Acthar significantly greater than in a

competitive market. Therefore, Oregon municipalities and TPPs are entitled to relief under

Oregon law.

         340.   Plaintiffs and the Class were injured as a result of Defendants’ conduct in



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violation of Oregon law, and hereby seek damages.

       341.    Rhode Island: Rhode Island law declares “[e]very contract, combination, or

conspiracy in restraint of, or to monopolize, trade or commerce” unlawful. R.I. Gen. Laws. Ann.

§ 6-36-4. That a person “has no dealt directly with the defendant” does not “bar or otherwise

limit recovery”. R.I. Gen. Laws Ann. § 6-36-12(g). Plaintiffs may obtain an injunction recovery

treble damages, costs of suit, and a reasonable attorneys fee under Rhode Island law.

       342.    Rhode Island municipalities and TPPs may bring suit pursuant to section 6-36-11

because they are public bodies or persons within the meaning of section 6-36.3. See R.I. Gen.

Laws Ann. §§ 6-36-3, 11(a).

       343.    As described in this Complaint, Mallinckrodt and Express Scripts agreed to

maintain the supracompetitive price of Acthar through the ASAP Program, limiting distribution

of the drug and stifling the ability of a competitor to enter the ACTH market. Further, to

maintain these supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct caused

Rhode Island municipalities and TPPs to pay prices for Acthar significantly greater than in a

competitive market. Therefore, Rhode Island municipalities and TPPs are entitled to relief under

Rhode Island law.

       344.    Plaintiffs and the Class were injured as a result of Defendants’ conduct in

violation of Rhode Island law, and hereby seek damages.

       345.    South Dakota: The South Dakota antitrust statute declares unlawful, “[a] contract,

combination, or conspiracy between two or more persons in restraint of trade or commerce any

part of which is within this state S.D.C.L. § 37-1-3.1. Under the statute, any person injured

directly or indirectly by an antitrust violation may sue for injunctive and equitable relief as well

as to recover treble damages. S.D.C.L. §§ 37-1-14.3, 37-1-33.



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       346.    South Dakota payors have standing to seek relief within the meaning of S.D.C.L.

§ 37-1-3.1.

       347.    As described in this Complaint, Mallinckrodt and Express Scripts agreed to

maintain the supracompetitive price of Acthar through the ASAP Program, limiting distribution

of the drug and stifling the ability of a competitor to enter the ACTH market. Further, to

maintain these supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct caused

South Dakota municipalities and TPPs to pay prices for Acthar significantly greater than in a

competitive market. Therefore, South Dakota municipalities and TPPs are entitled to relief

under South Dakota law.

       348.    Plaintiffs and the Class were injured as a result of Defendants’ conduct in

violation of South Dakota law, and hereby seek damages.

       349.    Utah: Utah law declares illegal “[e]very contract, combination in the form of trust

or otherwise, or conspiracy in restraint of trade or commerce”. Utah Code Ann. § 76-10-3104.

Persons injured by such antitrust conduct may recover three times their damages in addition to an

injunction, the costs of suit, and reasonable attorneys’ fees. See Utah Code Ann. § 76-10-

3109(1). Political subdivisions may recover actual damages in addition to in addition to

injunctive relief, costs of suit, and reasonable attorney fee. See Utah Code Ann. § 76-10-

3109(3).

       350.    Utah municipalities and TPPs are persons or political subdivisions within the

meaning of Utah Code Ann. § 76-10-3109(1) and therefore have standing to obtain relief.

       351.    As described in this Complaint, Mallinckrodt and Express Scripts agreed to

maintain the supracompetitive price of Acthar through the ASAP Program, limiting distribution

of the drug and stifling the ability of a competitor to enter the ACTH market. Further, to



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maintain these supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct caused

Utah municipalities and TPPs to pay prices for Acthar significantly greater than in a competitive

market. Therefore, Utah municipalities and TPPs are entitled to relief under Utah law.

       352.     Plaintiffs and the Class were injured as a result of Defendants’ conduct in

violation of Utah law, and hereby seek damages.

       353.     Wisconsin: The Wisconsin Antitrust Act provides that “[e]very contract,

combination in the form of trust or otherwise, or conspiracy, in restraint of trade or commerce is

illegal.” Wis. Stat. Ann. § 133.03(1). Any person injured directly or indirectly by an antitrust

violation may seek injunctive relief and recover treble damages. Wis. Stat. Ann. §§ 133.16,

133.18(1)(a).

       354.     Wisconsin municipalities and TPPs are persons within the meaning of Wis. Stat.

Ann. § 133.02 and therefore have standing to seek relief.

       355.     As described in this Complaint, Mallinckrodt and Express Scripts agreed to

maintain the supracompetitive price of Acthar through the ASAP Program, limiting distribution

of the drug and stifling the ability of a competitor to enter the ACTH market. Further, to

maintain these supracompetitive prices, Mallinckrodt acquired Synacthen. This conduct caused

Wisconsin municipalities and TPPs to pay prices for Acthar significantly greater than in a

competitive market. Therefore, Wisconsin municipalities and TPPs are entitled to relief under

Wisconsin law.

       356.     Plaintiffs and the Class were injured as a result of Defendants’ conduct in

violation of Wisconsin law, and hereby seek damages.

       WHEREFORE, Plaintiffs demand that judgment be entered in its favor, and in favor of

the Class, and against Defendants, in an amount to be determined at trial, including but not



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limited to costs, attorneys’ fees, and such other relief deemed just and appropriate by this Court.

                                         COUNT IX
                             PLAINTIFFS v. ALL DEFENDANTS
                               Violation of 18 U.S.C. § 1962(c)

       357.    Plaintiffs hereby incorporate by reference the averments of the foregoing

paragraphs as if fully set forth herein and further allege as follows:

       358.    Defendants are each “persons” within the meaning of 18 U.SC. § 1961(3), who

each conducted the affairs of an association in fact enterprise affecting interstate commerce

through a pattern of racketeering activity in violation of 18 U.S.C. § 1962(c). Plaintiffs and the

members of the Class are also persons.

       359.    Each Defendant violated 19 U.S.C. § 1962(c) as follows:

               a. Mallinckrodt plc. At all times relevant hereto, Mallinckrodt plc participated

                   in the wrongful conduct of Questcor and Express Scripts as stated herein.

               b. Questcor. At all times relevant hereto, Questcor committed the predicate acts

                   of mail and wire fraud through its own acts and through the ASAP Enterprise

                   as stated herein. Questcor’s predicate acts were not limited to the allegations

                   stated herein.

               c. Express Scripts Holding Company. At all times relevant hereto, Express

                   Scripts Holding Company committed the predicate acts of mail and wire fraud

                   through its own acts and through the ASAP Enterprise as stated herein.

                   Express Scripts Holding Company’s predicate acts were not limited to the

                   allegations stated herein.

               d. Express Scripts, Inc. At all times relevant hereto, Express Scripts, Inc.

                   committed the predicate acts of mail and wire fraud through its own acts and



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                  through the ASAP Enterprise as stated herein. Express Scripts, Inc.’s

                  predicate acts were not limited to the allegations stated herein.

               e. UBC. At all times relevant hereto, UBC committed the predicate acts of mail

                  and wire fraud through its own acts and through the ASAP Enterprise as

                  stated herein. UBC’s predicate acts were not limited to the allegations stated

                  herein.

               f. CuraScript. At all times relevant hereto, CuraScript committed the predicate

                  acts of mail and wire fraud through its own acts and through the ASAP

                  Enterprise as stated herein. CuraScript’s predicate acts were not limited to the

                  allegations stated herein.

               g. Accredo. At all times relevant hereto, Accredo committed the predicate acts

                  of mail and wire fraud through its own acts and through the ASAP Enterprise

                  as stated herein. Accredo’s predicate acts were not limited to the allegations

                  stated herein.

       360.    At all relevant times, in violation of 18 U.S.C. § 1962(c), Mallinckrodt plc and

Questcor, collectively Mallinckrodt, Express Scripts Holding Company, Express Scripts, Inc.,

UBC, CuraScript, and Accredo, collectively Express Scripts, and other co-conspirators

conducted the affairs of an association-in-fact enterprise within the meaning of 18 U.S.C. §

1961(4) consisting of Mallinckrodt and Express Scripts, including their directors, employees, and

agents, which is manifested in the ASAP program (the “ASAP Enterprise”).

               a. The ASAP Enterprise was established to streamlined and cover-up the use of

                  mail and wires to commit fraud so all Defendants could unfairly and illegally

                  profit from the monopolistic and anti-competitive sale of Acthar.



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               b. These predicated acts of wire fraud and mail fraud occurred over the course of

                   ten (10) years.

        361.   The ASAP Enterprise was established in 2007 and is an ongoing and continuing

business organization consisting of both the Defendants and individuals associated for the

common purpose of illegally profiting from the distribution, marketing, selling, purchasing, and

administration of Acthar to Plaintiffs and the Class, and deriving substantial profits from these

activities.

        362.   The ASAP Enterprise through each Defendant individually and collectively

engages in and affects interstate commerce because it engages in the following activities across

state boundaries: the manufacture, distribution, marketing, sale, and/or purchase of Acthar, the

transmission of ASAP program literature (including the Acthar Start Form at Exhibit “A”

hereto), the operating of the ASAP program website, and the transmission and/or the receipt of

invoices and payments related to the prescription and use of Acthar. Through these activities the

ASAP Enterprise distributes Acthar to thousands of individual patients, including those receiving

prescription drug benefits from the Plaintiffs and the Class.

        363.   The ASAP Enterprise itself and through each Defendant individually and

collectively functioned as a continuing unit as evidenced by the continuing coordination of

activities between Mallinckrodt and Express Scripts. There is a common communication

network by which Mallinckrodt and Express Scripts shared and continue to share information on

a regular basis for all times relevant to this lawsuit, but beginning at least in 2007 and continuing

through the present. Typically, this communication occurred by use of the wires and mails, in

which Mallinckrodt and Express Scripts all agree to charge inflated prices for Acthar to Plaintiffs

and other Class members. These entities functioned as a continuing unit for the purposes of



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implementing the fraudulent scheme to inflate the prices of Acthar by and through ASAP. When

issues arose during the fraudulent scheme, each agreed to take actions to hide the scheme and to

continue its existence.

       364.    Mallinckrodt and Express Scripts exerted control over the ASAP Enterprise, have

associations with the ASAP Enterprise, and have directly or indirectly conducted or participated

in the conduct of the affairs of the ASAP Enterprise in the following ways:

               a. Mallinckrodt establishes the prices of Acthar through fraudulent conduct;

               b. Mallinckrodt and Express Scripts directly controlled the prices at which
                  Plaintiffs and the Class reimburse for Acthar;

               c. Mallinckrodt and Express Scripts directly controlled the ASAP Program
                  materials and website which enroll patients in an exclusive distribution
                  network for the administration of Acthar, allowing Mallinckrodt to conduct its
                  unconscionable and unfair pricing of Acthar;

               d. Mallinckrodt and Express Scripts directly controlled the exclusive distribution
                  network for Acthar through the ASAP Enterprise;

               e. Mallinckrodt and Express Scripts relied on their employees to promote the
                  ASAP Program through the marketing alleged herein, through the mail and
                  the wires; and

               f. Mallinckrodt and Express Scripts participated in the affairs of the ASAP
                  Enterprise by using a fraudulent scheme to market and sell Acthar at inflated
                  prices.

       365.    Mallinckrodt and Express Scripts conducted and participated in the affairs of the

ASAP Enterprise through a pattern of racketeering activity that includes acts indictable under 18

U.S.C. § 1341, relating to mail fraud, and 18 U.S.C. § 1345, relating to wire fraud.

       366.    Mallinckrodt committed mail fraud when they utilized the mail and wires to

defraud patients and purchases including Plaintiffs and the Class. Specific examples of the fraud

are, included but not limited to:

               a. Express Scripts explicitly advertised to all existing and prospective patients


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   and payors that the ASAP Program would benefit them providing lower and
   affordable sales prices;

b. Mallinckrodt and Express Scripts misled Rockford by fraudulently stating
   over the internet and through the mail that Rockford and the Class would
   receive affordable healthcare and contained costs of Acthar;

c. Despite its explicit promises to the contrary, Express Scripts refused to use its
   market strength and related bargaining power to convince Mallinckrodt to
   lower the price of Acthar, because Express Scripts was serving as
   Mallinckrodt’s exclusive agent and conducting the ASAP Enterprise; and
   inter alia,

d. Processing prescriptions via mail and the wire and receiving payments from
   Rockford as follows:

       i. On April 30, 2015, Rockford paid $100,457.64 for 15 80-Unit (or 29
          days of therapy) doses of Acthar;

       ii. On September 10, 2015, Rockford paid $70,654.58 for 10 80-Unit (or
           12 days of therapy) doses of Acthar;

       iii. On September 24, 2015, Rockford paid $35,327.29 for 5 80-Unit (or
           16 days of therapy) doses of Acthar;

       iv. On October 8, 2015, Rockford paid $35,327.29 for 5 80-Unit (or 20
          days of therapy) doses of Acthar;

       v. On October 22, 2015, Rockford paid $35,327.29 for 5 80-Unit (or 22
          days of therapy) doses of Acthar;

       vi. On October 29, 2015, Rockford paid $35,327.29 for 5 80-Unit (or 10
          days of therapy) doses of Acthar;

       vii. On November 12, 2015, Rockford paid $35,327.29 for 5 80-Unit (or
          10 days of therapy) doses of Acthar;

       viii. On November 19, 2015, Rockford paid $35,327.29 for 5 80-Unit (or
          10 days of therapy) doses of Acthar and

       ix. On December 3, 2015, Rockford paid $105,981.88 for 15 80-Unit (or
          30 days of therapy) doses of Acthar.

f. Processing prescriptions via mail and the wire and receiving payments from
   Acument as follows:



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                       i. On December 17, 2015, Acument paid $68,616.75 for 10 80-Unit (or 22
                          days of therapy) doses of Acthar;

                       ii. On January 4, 2016, Acument paid $68,616.75 for 10 80-Unit (or 22
                           days of therapy) doses of Acthar;

                       iii. On January 21, 2016, Acument paid $68,616.75 for 10 80-Unit (or 22
                           days of therapy) doses of Acthar;

                       iv. On February 18, 2016, Acument paid $68,616.75 for 10 80-Unit (or 22
                          days of therapy) doses of Acthar;

                       v. On March 14, 2016, Acument paid $68,616.75 for 10 80-Unit (or 22
                          days of therapy) doses of Acthar;

                       vi. On April 7, 2016, Acument paid $68,616.75 for 10 80-Unit (or 22
                          days of therapy) doses of Acthar;

                       vii. On April 26, 2016, Acument paid $68,616.75 for 5 80-Unit (or 22
                          days of therapy) doses of Acthar;

                       viii. On May 24, 2016, Acument paid $68,616.75 for 10 80-Unit (or 22
                          days of therapy) doses of Acthar;

                       ix. On June 15, 2016, Acument paid $68,616.75 for 10 80-Unit (or 22
                          days of therapy) doses of Acthar;

                       x. On July 11, 2016, Acument paid $68,616.75 for 10 80-Unit (or 22 days
                          of therapy) doses of Acthar;

                       xi. On August 9, 2016, Acument paid $68,616.75 for 10 80-Unit (or 22
                          days of therapy) doses of Acthar;

                       xii. On November 2, 2016, Acument paid $68,616.75 for 10 80-Unit (or
                          22 days of therapy) doses of Acthar and

                       xiii. On December 6, 2016, Acument paid $68,616.75 for 10 80-Unit (or
                          22 days of therapy) doses of Acthar.

       367.    Defendants’ pattern of racketeering activity likely involved hundreds, if not

thousands, of separate instances of the use of the United States mail, private shipping services,

facsimiles, or interstate wires, including the internet, in furtherance of its fraudulent and unlawful

scheme. Each of these fraudulent mailing and interstate wire transmissions separately constitutes


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a “racketeering activity” within the meaning of 18 U.S.C. § 1961(1). Collectively, these

violations constitute a “pattern of racketeering activity” within the meaning of 18 U.S.C. §

1961(5) in which the Mallinckrodt and Express Scripts intended to defraud Plaintiffs and

members of the Class.

       368.    Each of these payments were made by electronic transfer from Rockford to

Express Scripts in St. Louis, Missouri, or from Acument via CVS Caremark to Express Scripts.

       369.    By conducting the ASAP Enterprise via the fraudulent activities stated herein

through the mail and wires, the Defendants both individually and collectively engaged in a

repeated, fraudulent, and unlawful course of conduct constituting a pattern of racketeering.

       370.    Defendants’ pattern of racketeering activity likely involved hundreds, if not

thousands, of separate instances of the use of the United States mail, private shipping services,

facsimiles, or interstate wires, including the internet, in furtherance of its fraudulent and unlawful

scheme. Thousands of ASAP forms, like the one attached hereto as Exhibit “A” were

transmitted via facsimile to Express Scripts offices in multiple states. Thousands more phone

calls were conducted between physicians and patients with Express Scripts, as directed by the

ASAP form (Ex. A). Each of these fraudulent mailing and interstate wire transmissions

separately constitutes a “racketeering activity” within the meaning of 18 U.S.C. § 1961(1).

Collectively, these violations constitute a “pattern of racketeering activity” within the meaning of

18 U.S.C. § 1961(5) in which the Mallinckrodt and Express Scripts intended to defraud Plaintiffs

and members of the Class.

       371.    Mallinckrodt’s and Express Scripts’ violations and pattern of racketeering activity

directly and proximately caused Plaintiffs harm insofar as Rockford paid $488,787.84 and

Acument paid $894,617.75 in inflated reimbursements and other payments for Acthar.



                                                 84
        372.   Likewise the Class is harmed by Mallinckrodt’s and Express Scripts’ violations

and pattern of racketeering activity by making similar inflated payments for Acthar.

        373.   By virtue of these violations of 18 U.S.C. § 1962(c), Mallinckrodt and Express

Scripts are jointly and severally liable to Plaintiffs and the Class for three times the damages

Plaintiffs and the Class have sustained, plus the costs of this suit, including reasonable attorneys

fees.

        WHEREFORE, Plaintiffs demand that judgment be entered in their favor, and in favor

of the Class, and against Mallinckrodt and Express Scripts, in an amount to be determined at

trial, including but not limited to costs, attorneys’ fees, and such other relief deemed just and

appropriate by this Court.

                                         COUNT X
                             PLAINTIFFS v. ALL DEFENDANTS
                               Violation of 18 U.S.C. § 1962(a)

        374.   Plaintiffs hereby incorporate by reference the averments of the foregoing

paragraphs as if fully set forth herein and further allege as follows.

        375.   Throughout the Class Period, Defendants have violated the RICO statute by using

and investing income that was derived from a pattern of racketeering activity as described herein.

This income was used to acquire, establish, and/or operate the ASAP Enterprise in and affecting

interstate commerce.

        376.   The enterprise at issue is an association-in-fact within the meaning of 18 U.S.C. §

1961(4) consisting of Mallinckrodt and Express Scripts, including their directors, employees, and

agents, which is manifested in the ASAP program (the “ASAP Enterprise”). The ASAP

Enterprise is an ongoing and continuing business organization consisting of both corporations

and individuals associated for the common purpose of selling, purchasing, and administering



                                                 85
Acthar to Plaintiffs and their individual participants, and deriving profits from these activities.

Defendants engaged in a pattern of racketeering activity described in greater detail herein.

         377.   Plaintiffs and members of the Class have been directly and proximately injured in

their property by the Defendants’ use and investment of the racketeering income in the

acquisition, establishment, and operation of the ASAP Enterprise. The injury to Plaintiffs and

the Class’ businesses or property stemming from these violations has been realized by the over-

payment for Acthar.

         378.   The use and investment of racketeering income by Mallinckrodt and Express

Scripts directly and proximately injured the Plaintiffs and the Class in a manner than was distinct

from the injury caused by the pattern of racketeering activity described herein.

         379.   By virtue of these violations of 18 U.S.C. § 1962(a), Defendants are jointly and

severally liable to Plaintiffs and the Class for three times the damages Plaintiffs and the Class

have sustained, plus the costs of this suit, including reasonable attorneys fees.

         WHEREFORE, Plaintiffs demand that judgment be entered in their favor, and in favor

of the Class, and against Express Scripts, in an amount to be determined at trial, including but

not limited to costs, attorneys’ fees, and such other relief deemed just and appropriate by this

Court.

                                         COUNT XI
                             PLAINTIFFS v. ALL DEFENDANTS
                               Violation of 18 U.S.C. § 1962(d))

         380.   Plaintiffs hereby incorporate by reference the averments of the foregoing

paragraphs as if fully set forth herein and further allege as follows.

         381.   Mallinckrodt and Express Scripts violated 18 USC § 1962(d) by conspiring to

associate with a racketeering enterprise, in violation of 18 U.S.C. § 1962(c). Mallinckrodt



                                                 86
explicitly contracted with Express Scripts to have Express Scripts serve as Mallinckrodt’s

exclusive agent in the conduct of the ASAP Program and the ASAP Enterprise, and conspired

with Express Scripts to inflate the prices and limit distribution of Acthar in violation of §

1962(c).

          382.   Mallinckrodt and Express Scripts knew and adopted the criminal purpose of the

ASAP Enterprise. Mallinckrodt communications reflect an express illegal agreement between

Mallinckrodt and Express Scripts to limit the distribution of Acthar in order to charge inflated

prices.

          383.   Additionally, Mallinckrodt’s conduct in sending e-mails, faxes and other

communications to Express Scripts to direct the exclusive distribution, sale and reimbursement

of Acthar through ASAP is consistent with the existence of an agreement to carry out the scheme

to inflate prices and maximize profits. Express Scripts, in turn, communicated Mallinckrodt’s

inflated prices to its clients, including Rockford, in its contract schedules and subsequent

invoices for Acthar. These same prices were communicated to the other PBMs, like CVS

Caremark, for inclusion in their contracts with payors, like Acument.

          384.   Mallinckrodt and Express Scripts actively furthered the goals of the ASAP

Enterprise to defraud end payors, like the Plaintiffs. Mallinckrodt changed its distribution

scheme with Acthar with the intention that the changes would affect the prices of Acthar; it

engaged in frequent discussions with all other Defendants about its plan to raise Acthar prices in

the marketplace; it made requests that Express Scripts change the Acthar prices charged to its

clients in conjunction with its price increases; and it publicly boasted about the effects of the

scheme without disclosing its details.

          385.   Plaintiffs and other members of the Class have been injured in their business or



                                                 87
property because they have paid thousands of dollars in overpayments that they would not have

made had Defendants not conspired to engage in racketeering activity.

       386.    As co-conspirators, Mallinckrodt plc, Questcor, Express Scripts Holding

Company, Express Scripts, Inc., UBC, CuraScript, and Accredo are jointly and severally liable

for all damage that occurred as a result of both their actions and those of Mallinckrodt plc,

Questcor, Express Scripts Holding Company, Express Scripts, Inc., UBC, CuraScript, and

Accredo, respectively, in furtherance of the conspiracy to raise prices of Acthar. All Defendants

are liable for all damages arising from Mallinckrodt plc’s, Questcor’s, Express Scripts Holding

Company, Express Scripts, Inc., UBC’s, CuraScript’s, and Accredo’s respective conduct in

furtherance of the scheme.

       387.    Under the provisions of Section 1964(c) of RICO, Mallinckrodt plc, Questcor,

Express Scripts Holding Company, Express Scripts, Inc., UBC, CuraScript, and Accredo are

jointly and severally liable to Plaintiffs for three times the damages that Plaintiffs have sustained,

plus the costs of bringing this suit, including reasonable attorneys’ fees.

       WHEREFORE, Plaintiffs demand that judgment be entered in their favor, and in favor

of the Class, and against Mallinckrodt and Express Scripts, in an amount to be determined at

trial, including but not limited to costs, attorneys’ fees, and such other relief deemed just and

appropriate by this Court.

                                     COUNT XII
                        CITY OF ROCKFORD V. EXPRESS SCRIPTS
                                BREACH OF CONTRACT
                         BREACH OF THE ESI PBM AGREEMENT

       388.    Rockford hereby incorporates by reference the averments of the foregoing

paragraphs as if fully set forth herein and further alleges as follows.

       389.    This Count alleges breach of the ESI PBM Agreement against Express Scripts.


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       390.    By its representations, manifestations of assent, customs and practices, ESI is

bound to and by the terms of the ESI PBM Agreement.

       391.    By the foregoing conduct, specifically ESI’s failure to provide “cost containment”

services either through nonfeasance or malfeasance, ESI breached the ESI PBM Agreement,

repudiated its obligations under the ESI PBM Agreement, and is in default of the ESI PBM

Agreement.

       392.    Rockford performed and met all of its obligations under the ESI PBM Agreement

to date and has a right to and is entitled to all remedies ascribed to it under the ESI PBM

Agreement and Illinois law.

       393.    Rockford has been damaged as a direct and proximate result of ESI’s failure to

perform under the terms of the ESI PBM Agreement.

       WHEREFORE, Rockford demands that judgment be entered in its favor, and in favor of

the Class, and against Express Scripts, in an amount to be determined at trial, including but not

limited to costs, attorneys’ fees, and such other relief deemed just and appropriate by this Court.

                                    COUNT XIII
                        CITY OF ROCKFORD V. EXPRESS SCRIPTS
                               PROMISSORY ESTOPPEL

       394.    Rockford hereby incorporates by reference the preceding and following

paragraphs hereof as if fully set forth herein.

       395.    This Count alleges promissory estoppel against Express Scripts. It charges that

ESI’s conduct described above constitutes a promise to perform under the terms of the ESI PBM

Agreement; and a promise upon which Rockford relied upon to its detriment.

       396.    Rockford seeks enforcement of ESI’s promise to continue with ESI’s obligations

under the ESI PBM Agreement.



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       397.     ESI utterly refused and failed to fulfill its representations and promises

concerning the terms and obligations under the ESI PBM Agreement, including the promise of

cost containment with respect to Acthar.

       398.     Rockford relied on the conduct described above and in justifiable reliance

thereon, and as a direct and proximate result of its reliance thereon, Rockford has been damaged.

       399.     Injustice can be avoided only by enforcing ESI’s representations and promises

concerning the expectations that it created regarding ESI’s obligations under the ESI PBM

Agreement, and awarding Rockford damages based on ESI’s failure to fulfill its representations

and promises.

       WHEREFORE, Rockford demands that judgment be entered in its favor and in favor of

the Class, and against Express Scripts, in an amount to be determined at trial, including but not

limited to costs, attorneys’ fees, and such other relief deemed just and appropriate by this Court.

                                    COUNT XIV
                        CITY OF ROCKFORD V. EXPRESS SCRIPTS
                              DECLARATORY JUDGMENT
                              THE ESI PBM AGREEMENT

       400.     Rockford hereby incorporates by reference the preceding and following

paragraphs hereof as if fully set forth herein.

       401.     This Count seeks declaratory judgment under 28 U.S.C. §§2201 and 2202,

because an actual, present and substantial controversy exists between Rockford and Express

Scripts concerning the ESI PBM Agreement, and Rockford’s entitlement to continue to receive

the benefit of its bargain with Express Scripts in the ESI PBM Agreement.

       402.     Rockford is statutorily entitled to declarations of its rights, status or relations.

       403.     WHEREFORE, Rockford demands that judgment be entered in its favor, and in

favor of the Class, declaring that:


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                a.     ESI has repudiated its obligations to perform under the ESI PBM
                       Agreement and is therefore in default of the ESI PBM Agreement; and

                b.     ESI is estopped from denying its obligations to comply with the provisions
                       of the ESI PBM Agreement.

                                     COUNT XV
                         CITY OF ROCKFORD V. EXPRESS SCRIPTS
                         BREACH OF THE IMPLIED COVENANT OF
                            GOOD FAITH AND FAIR DEALING

       404.     Rockford hereby incorporates by reference the averments of the foregoing

paragraphs as if fully set forth herein and further alleges as follows.

       405.     The general duty of good faith and fair dealing in the performance of a contract is

found in the Restatement (Second) of Contracts, Section 205, which provides that “every

contract imposes upon each party a duty of good faith and fair dealing in its performance and its

enforcement.”

       406.     In Illinois and other states, the duty of good faith is defined as honesty in fact in

the conduct or transaction concerned.

       407.     The duty to perform contractual obligations in good faith applies to the ESI PBM

Agreement and requires ESI to use its best efforts to fulfill its promise to provide “cost

containment” services.

       408.     By failing to provide “cost containment” services and costing Rockford

$488,787.64 for 9 prescriptions of Acthar over the course of 8 months, ESI breached the

covenant of good faith and fair dealing.

       409.     ESI’s breach of the covenant of good faith and fair dealing was the direct and

proximate result of injury and damages to Rockford.

       WHEREFORE, Rockford demands that judgment be entered in its favor and in favor of

the Class, and against Mallinckrodt and Express Scripts, in an amount to be determined at trial,


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including but not limited to costs, attorneys’ fees, and such other relief deemed just and

appropriate by this Court.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs and the Class request the Court to enter the following relief:

               a.      Certify this case as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure, and denominate Plaintiffs as an adequate representative for the Class and

their undersigned counsel as counsel for the Class;

               b.      Declare unlawful the acts and practices alleged herein, enjoin the

Defendants from committing the acts alleged herein, and restore the status quo before the

unlawful conduct took place;

               c.      Enter judgment against all Defendants for the violations alleged herein;

               d.      Award the actual damages incurred by Plaintiffs and the members of the

Class as a result of the wrongful acts complained of, along with pre-judgment and post-judgment

interest at the maximum rate allowed by law;

               e.      Award statutory damages set forth herein under the statutory claims

alleged;

               f.      Award treble damages or multiple damages by operation of law;

               g.      Award punitive damages;

               h.      Award Plaintiffs the costs of this action, including reasonable attorneys’

fees, and, where applicable, expert fees; and

               i.      Award such other and further relief as the Court may deem just and

appropriate.




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                                  JURY DEMAND

Plaintiffs and the Class demand a trial by jury of all issues so triable in this cause.

                                                       Respectfully submitted,

                                               By:     /s/ Donald E. Haviland, Jr.
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                                                       Attorneys for Plaintiffs and the Class




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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 8, 2017, a true and correct copy of the foregoing

Second Amended Class Action Complaint was electronically filed with the Clerk of Court using

the CM/ECF system, which will send notification of such filing to all counsel of record.



                                                            s/ Donald E. Haviland, Jr.




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